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   1                        UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
   2
        - - - - - - - - - - - - - - X
   3

   4    UNITED STATES OF AMERICA,        :    09-CR-466(BMC)

   5               Plaintiff,            :
                                              United States Courthouse
   6            -against-                :    Brooklyn, New York

   7    JOAQUIN ARCHIVALDO GUZMAN
        LOERA,                           :
   8                                          January 23, 2019
                   Defendant.            :    9:30 o'clock a.m.
   9

  10    - - - - - - - - - - - - -        X

  11
                               TRANSCRIPT OF TRIAL
  12                  BEFORE THE HONORABLE BRIAN M. COGAN
                   UNITED STATES DISTRICT JUDGE, and a jury.
  13

  14    APPEARANCES:

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                                                                           5903


   1    APPEARANCES:    (Continued)

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        Proceedings recorded by mechanical stenography, transcript
  25    produced by computer-aided transcription.



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                           Lopez Nunez - direct - Liskamm                  5904


   1                 THE COURT:   Good morning.

   2                 Mr. Balarezo, I think the witness you wanted is

   3    going to be here today.

   4                 MR. BALAREZO:      I'll speak with the marshals.

   5                 THE COURT:   Speak with the marshals, speak with

   6    Ms. Clarke in coordinating it.

   7                 (Jury enters.)

   8                 THE COURT:   Everyone be seated.     Good morning,

   9    ladies and gentlemen.

  10                 (A chorus of good mornings.)

  11                 THE COURT:   We continue to make very good progress,

  12    and we'll pick up on direct examination.

  13    DAMASO LOPEZ NUNEZ,

  14          called as a witness, having been previously duly

  15          sworn, was examined and testified as follows:

  16    DIRECT EXAMINATION

  17    BY MS. LISKAMM (Continuing):

  18    Q     Good morning, Mr. Lopez.

  19    A     Good morning.

  20    Q     When we left off yesterday, you were explaining that the

  21    Defendant was looking for Cesar Gastellum; do you recall that?

  22    A     Yes.

  23    Q     Did you agree to help the Defendant look for Cesar?

  24    A     Yes.

  25    Q     And how would you communicate with the Defendant about



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                             Lopez Nunez - direct - Liskamm                5905


   1    that?

   2    A       Via BlackBerry.

   3    Q       Was that using the office system we discussed yesterday?

   4    A       Yes.

   5                   MS. LISKAMM:   And your Honor, I believe there's no

   6    objection.      We would seek to introduce Government Exhibit

   7    515-5.

   8                   THE COURT:   All right.     Admitted.

   9                   (Government Exhibit 515-5 so marked.)

  10                   MS. LISKAMM:   For the record these are excerpts from

  11    Government Exhibit 610N-2E2.

  12                   If we could turn to Slide 2.

  13                   (Exhibit published to the jury.)

  14    Q       On the left-hand side of the screen, we see Ofi and

  15    Telcel Nuevo.

  16                   Who is sending the message where it says "Ofi"?

  17    A       Ofi is my compadre.       Telcel Nuevo is me.

  18    Q       And then starting at Paragraph 4, where the Defendant

  19    says:    Your compadre says that he just got news through a

  20    Colombian who's there that he knows who Enrique is.          He is at

  21    a ranch, that he is going to talk to a neighboring ranch to

  22    see if they'll allow him to bring people in because he has

  23    gunmen.    He has as a car armed people, around eight or ten.

  24    God is helping us.      Because our friend knows where Enrique has

  25    that ranch and Enrique lives there.



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                           Lopez Nunez - direct - Liskamm                   5906


   1                Who is Enrique?

   2    A     That's Cesar.

   3    Q     And what is the Defendant telling you here?

   4    A     That a person knows where Cesar is and that that person

   5    is willing to help, and that they are looking for a ranch that

   6    is close to the place where Cesar is, and that Cesar has

   7    gunmen taking care of him, he has about eight to ten gunmen

   8    with him.

   9    Q     Going to Paragraph 5, you say:       Right, that could be

  10    'cause, you know, Enrique has always told me he's like you,

  11    alone at the ranch.     But he emphasizes that same as you.        So,

  12    you tell if I should send back Mario because, from what I see,

  13    it's pointless to have him there.

  14                Who is Mario?

  15    A     Mario is the person that I had sent to Honduras.

  16    Q     For what purpose?

  17    A     He was going to point at Enrique.

  18    Q     What does that mean?

  19    A     Since he knew him, he knew who he was, he was going to

  20    tell the gunman who Enrique was.

  21    Q     Let's now turn to Slide 4.        And looking at Paragraph 8,

  22    Defendant said:    Well, your compadre says yes, it would be

  23    good to hit that snitch.       He is going to go because he lives

  24    there, the Colombian says he lives there.         If he goes out,

  25    he's going to come back.       He won't be out long without



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                            Lopez Nunez - direct - Liskamm                   5907


   1    returning to that place because that's where he lives.

   2                  What is being discussed here?

   3    A     That sooner or later Cesar had to go back to that place

   4    because he lived there.        The Colombian who was passing on that

   5    information was certain of that.           It was just a matter of

   6    waiting.

   7    Q     What does it mean when it says "it would be good to hit

   8    that snitch"?

   9    A     To "hit," that means to kill him.

  10    Q     Okay.    Mr. Lopez, are you aware of whether the Defendant

  11    was able to locate and kill Cesar?

  12    A     No, he did not locate him, and he didn't kill him either.

  13    Q     Do you know why?

  14    A     Cesar was arrested.

  15                  MS. LISKAMM:   Okay.    All right.    I think that's it

  16    with the PowerPoint.

  17    Q     I want to direct your attention now to February of 2014.

  18                  Are you aware of any law enforcement raids in

  19    Culiacan at that time?

  20    A     Yes, I remember that one day there were Navy helicopters

  21    that arrived in Culiacan.       There was also Navy personnel who

  22    came by land.     I told my compadre.       I told him about it.

  23                  And the house where I was at, I had just transferred

  24    to that place a day earlier.         And I was taking precautions and

  25    I got out of the house and I switched to a different place.



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                             Lopez Nunez - direct - Liskamm                  5908


   1    And when I was at the place where I had taken refuge, in the

   2    early dawn I could hear the helicopters.             And the noise of the

   3    helicopters woke me up, so I turned on the radio and I was

   4    listening.      They reported a Navy operation in Guadalupe

   5    neighborhood, which was right behind the San Martin Funeral

   6    Home.

   7                   And coincidentally, the night before, I had been

   8    there the night before.           In fact, the house where I was living

   9    at was right around that area.          And when they reported --

  10                   MR. BALAREZO:      Objection.

  11                   THE COURT:   I'm not sure why he's telling us this

  12    level of detail.       What's going to happen next?

  13                   MS. LISKAMM:    Your Honor, I'm simply just trying to

  14    elicit the raid.       I can move on to the next part of this.

  15                   THE COURT:   Let's move on.     Go ahead.

  16    Q       Mr. Lopez, do you know someone called La Diputada?

  17    A       Yes.

  18    Q       Who is that?

  19    A       Lucero.

  20    Q       Why is she called La Diputada?

  21    A       Because she was a diputada, a Congresswoman in the State

  22    of Sinaloa.

  23    Q       Have you ever met her?

  24    A       Yes.

  25    Q       Showing you what's already in evidence as Government



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                             Lopez Nunez - direct - Liskamm                5909


   1    Exhibit 92.

   2                   (Exhibit published to the jury.)

   3    Q       Who is this?

   4    A       That's Lucero.

   5    Q       What was her relationship with the Defendant?

   6    A       I knew that they had, like, a romantic relationship.

   7    They were boyfriend or girlfriend, something like that.

   8    Q       When you met with her, did you have any conversations

   9    with her about what happened in Culiacan in February 2014?

  10    A       Well, yes.   I met up with her a few months later after

  11    that operation.      Actually, she asked to talk to me and I met

  12    up with her.

  13    Q       And what did you discuss?

  14    A       She told me that she had been at that place that had been

  15    searched and that my compadre was there, and, fortunately,

  16    they had escaped through the rainwater drain that was in the

  17    city.

  18    Q       You mentioned that this raid had occurred in the

  19    Guadalupe neighborhood.

  20    A       Yes, in the city of Culiacan.

  21    Q       Are you familiar with the house that they raided?

  22    A       Yes.

  23    Q       How?

  24    A       Where I used to live, it was almost right across from

  25    that house.      I mean, I didn't really live there; I used the



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                           Lopez Nunez - direct - Liskamm                  5910


   1    house once in a while.

   2    Q     Showing you what's already in evidence as Government

   3    Exhibit 219-2.

   4               (Exhibit published to the jury.)

   5    Q     Do you recognize that?

   6    A     Yes, that's the house in Guadalupe neighborhood.

   7    Q     After this raid occurred in Culiacan, are you aware of

   8    anything notable occurring with respect to the Defendant?

   9    A     He was detained in Mazatlan by the Navy.

  10    Q     Did you speak to any of your Government contacts about

  11    what happened in Mazatlan?

  12               MR. BALAREZO:       Objection.

  13               THE COURT:    Sustained.

  14               MS. LISKAMM:     Your Honor, can we have a sidebar?

  15               THE COURT:    Sure.

  16

  17               (Continued on the following page.)

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                                          Sidebar                             5911


    1               (The following occurred at sidebar.)

    2               THE COURT:    Sounds like an out-of-court statement

    3   offered to prove the truth of what it asserts.

    4               MS. LISKAMM:    Your Honor, we're submitting this as a

    5   co-conspirator statement.

    6               THE COURT:    As a?

    7               MS. LISKAMM:    Co-conspirator statement.

    8               THE COURT:    Who's the co-conspirator?

    9               MS. LISKAMM:    Javi.    He was one of the employees who

   10   testified numerous times about -- as the person who is in

   11   touch with all the Government contacts.           He testified about

   12   the bribes that they were paying to get information about law

   13   enforce, raids.     He was the individual asking questions in the

   14   interrogation video we showed yesterday.

   15               THE COURT:    I didn't hear it come from Javi, I heard

   16   it coming directly from Government contacts.

   17               MS. LISKAMM:    He was answering that it was Javi,

   18   coming from the government contacts.

   19               THE COURT:    Rephrase the question.       If it's from

   20   Javi, it's okay.     If it's from unnamed government contacts

   21   that's --

   22               MR. BALAREZO:      That's my objection.     I heard the

   23   same thing.

   24               (Continued on the following page.)

   25



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    1                   (Sidebar ends; in open court.)

    2   BY MS. LISKAMM:

    3   Q       Mr. Lopez, did you have any conversations with Javi about

    4   what happened in Mazatlan?

    5   A       Yes.    Javi reported to me that his federal governmental

    6   contacts were telling him --

    7                   MR. BALAREZO:      Objection.   We have two levels.

    8                   THE COURT:   What about that first level?

    9                   MS. LISKAMM:    The same --

   10                   THE COURT:   Actually, I think it's okay for reasons

   11   I'll tell you at sidebar, if you want.            I'll overrule the

   12   objection.

   13                   THE INTERPRETER:     May the interpreter finish what he

   14   said?

   15                   THE COURT:   Yes, go ahead.

   16   A       -- and they had arrested my compadre.

   17   Q       What date was that?

   18   A       February 22.

   19   Q       Of what year?

   20   A       2014.

   21   Q       And how do you remember that date?

   22   A       That day, that was my birthday.

   23   Q       Did you speak with Javi about where the Defendant was --

   24   what prison he was taken to?

   25   A       Yes, Javi told me, and the media also reported, that they



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    1   took him to Altiplano in the State of Mexico.

    2   Q       Where is Altiplano located?

    3   A       To the north of the City of Toluca in the State of

    4   Mexico.

    5   Q       Based on your knowledge of the prison systems, are you

    6   aware of whether Altiplano Prison was ever called a different

    7   name?

    8   A       Almoloya, La Palma.

    9   Q       While the Defendant was in prison, did you have any

   10   conversations with anyone who visited him there?

   11   A       The attorney.

   12   Q       Which attorney?

   13   A       Oscar.

   14   Q       Who is -- how did you refer to Oscar?

   15   A       Licenciado Oscar.

   16   Q       Who is Licenciado Oscar?

   17   A       He was the person who was in charge of defending my

   18   compadre's case and who would visit him at the prison.

   19   Q       When Licenciado Oscar would visit at the prison, would he

   20   relay any messages to you?

   21   A       Yes.

   22   Q       And who were those messages from?

   23   A       From my compadre.

   24   Q       Generally, what type of messages would you receive?

   25   A       Well, I received a few letters from him, meaning from my



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    1   compadre.

    2   Q     Who were they delivered by?

    3   A     Licenciado Oscar.

    4   Q     Did Licenciado Oscar relay anything else to you?

    5   A     Yes.    There were many messages that he would send me,

    6   greetings.     And, also, I would send him some.

    7   Q     Okay.    Did Licenciado Oscar relay any messages to you

    8   related to Negro?

    9                 MR. BALAREZO:      Objection.

   10                 THE COURT:   Overruled.

   11   A     Yes.

   12   Q     And what was that message?

   13   A     My compadre sent word to me to do this favor for him, to

   14   speak to Mr. Mayo and so that he would call Negro to meet up

   15   with him and for him to kill him because Negro had turned him

   16   over in the City of Mazatlan.

   17   Q     Who was the "he" and "him" you're referring to?

   18   A     My compadre sent the message to me through Licenciado

   19   Oscar so that I would then talk to Mayo and for Mayo to call

   20   Negro in so that they would kill Negro.

   21   Q     Did Licenciado Oscar say anything to you about why the

   22   Defendant wanted to kill Negro?

   23                 MR. BALAREZO:      Continuing objection.

   24                 THE COURT:   Overruled.

   25   A     Yes, because Negro had turned him in, Negro had turned



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    1   him in to the Government.

    2   Q     Based on your knowledge of the Defendant's security, who

    3   was in charge of the Defendant's security in February 2014?

    4   A     Negro.

    5   Q     Approximately when did you receive this message from the

    6   Defendant through Licenciado Oscar?

    7   A     It was in April, at the beginning of April.

    8   Q     And what did you do after receiving this message?

    9   A     I sent a message to Mr. Mayo to get whether he could

   10   receive me.    He did so in person, so I gave him the message.

   11   He tell me to give greetings to my compadre, his compadre, and

   12   to tell him that he could count on that; that, in fact, Negro

   13   had already requested a meeting with him, with Mr. Mayo, and

   14   that that would make things easier.

   15                So, they agree on a meeting at some place.        Mayo

   16   sent someone to pick him up.

   17                MR. BALAREZO:      Objection, 602.

   18                THE COURT:   The last part is stricken.

   19   Q     Mr. Lopez, after you had this conversation with Mayo

   20   relaying Chapo's request, did you speak with Mayo again about

   21   Negro?

   22   A     Yes.    Once Mr. Mayo had done the favor, he looked for me,

   23   and he explained to me how things had taken place and to let

   24   my compadre know that Negro's thing had already been done.

   25   Q     What did that mean?



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    1   A     That he had already killed him.

    2   Q     Okay.    Were there any other instances where you were

    3   asked to relay a message between the Defendant and Mayo?

    4   A     I don't remember.

    5   Q     Okay.    Do you know somebody named Barbarino?

    6   A     Yes, I met him.

    7   Q     Were you ever asked to relay a message related to

    8   Barbarino?

    9   A     Yes.

   10                 Mr. Mayo looked for me.    I went to see him in

   11   person.    He told me to do him the favor of sending a message

   12   to my compadre, to tell him that Barbarino was behaving really

   13   badly, he was going around stealing and abusing people, that

   14   it was painful to Mr. Mayo because he was also his compadre,

   15   but that he had to put an end to the abuse.

   16                 So, the message to my compadre was that Mr. Mayo

   17   wanted to kill him, to know whether my compadre was in

   18   agreement.

   19   Q     When did you have this conversation with Mayo about

   20   Barbarino?

   21   A     That was in February of 2015.

   22   Q     And who is Barbarino?

   23   A     Barbarino was a gunman who worked for the Sinaloa cartel.

   24   Q     Have you ever met him?

   25   A     Yes.



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    1   Q     How many times?

    2   A     On several -- I saw him on several occasions.

    3   Q     Okay.

    4                 MS. LISKAMM:    And I believe there's no objection --

    5                 MR. BALAREZO:      None, your Honor.

    6                 THE COURT:   What's the number?

    7                 MS. LISKAMM:    Government seeks to move Government

    8   106 into evidence.

    9                 THE COURT:   Received.

   10                 MS. LISKAMM:    Thank you.

   11                 (Government Exhibit 106 so marked.)

   12                 (Exhibit published to the jury.)

   13   Q     Mr. Lopez, who is this?

   14   A     He is Barbarino.

   15   Q     After you met with Mayo to discuss Barbarino, what did

   16   you do next?

   17   A     I looked for the lawyer Oscar to give him the message so

   18   that he could do us the favor of relaying that message to my

   19   compadre.     Once he did, once he relayed the message, my

   20   compadre's response was to tell Mayo that anything that

   21   Mr. Mayo did was fine.

   22   Q     Did you relay this back to Mayo?

   23   A     Yes; I spoke to him on the phone, I saw him in person,

   24   and I explained to him.

   25   Q     Did you later hear anything over the radio related to



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    1   Barbarino?

    2   A     Yes, we later heard on the radio that Barbarino had been

    3   killed near the new boardwalk in the City of Culiacan.

    4   Q     Now, we discussed several murders where you have been

    5   involved in relaying orders.

    6                Have you ever personally killed anyone?

    7   A     No.

    8   Q     Have you ever ordered anyone kidnapped?

    9   A     Yes.

   10   Q     Approximately how many people?

   11   A     I don't remember the exact number, but there were

   12   several.

   13   Q     Have you ever used fake or false IDs?

   14   A     Yes, I have.

   15   Q     Why?

   16   A     Because I was protecting myself from the government.

   17   Q     What does that mean?

   18   A     That if they would stop me at any roadblock, you know,

   19   the police on the highway, if they were looking for Damaso,

   20   they would see a different name.

   21   Q     Have you ever purchased property in someone else's name?

   22   A     Yes.

   23   Q     And why did you do that?

   24   A     For safety, so that the government wouldn't have the

   25   information.



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    1   Q       Now, you've previously mentioned that you received some

    2   letters from the Defendant while he was in jail; is that

    3   correct?

    4   A       Yes.

    5   Q       And how did you receive those?

    6   A       Through Licenciado Oscar.

    7   Q       Approximately when did you receive those letters?

    8   A       I think it was in April, May, June, around that time, of

    9   2014.

   10   Q       And how many letters did you receive?

   11   A       Three.

   12   Q       Were the letters handwritten or typed?

   13   A       Handwritten.

   14   Q       And how did you know that the letters were from the

   15   Defendant?

   16   A       They were addressed to Compadre Lic, who is me, and they

   17   were signed by my compadre.

   18   Q       Did Licenciado Oscar say anything when he gave you the

   19   letters about who they were from?

   20   A       Yes, he mentioned to me that my compadre was sending

   21   those letters.

   22   Q       Was there anything distinctive about the handwriting that

   23   you recognized?

   24   A       It reminded me to the handwriting that I used to see when

   25   I worked at the penitentiary.



                                 LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                   5920


    1                MS. LISKAMM:    At this time, the Government would

    2   seek to admit Government Exhibit 806-1, -2, and -3.

    3                MR. BALAREZO:      No objection.

    4                THE COURT:   Received.

    5                (Government Exhibits 806-1, 806-2, and 806-3 so

    6   marked.)

    7                MS. LISKAMM:    Government Exhibit 806-1, 806-2,

    8   806-3, which is two pages.

    9                (Exhibits published to the jury.)

   10   Q     Mr. Lopez, are these the letters that you received?

   11   A     Yes.

   12   Q     And at the top of these three letters there, it appears

   13   to be addressed to Compadre --

   14   A     Yes.

   15   Q     -- Compadre, Compadre Lic?

   16   A     Yes.

   17   Q     And on the back of these letters, what are the initials

   18   that are signed?

   19   A     JGL.

   20   Q     And what are the Defendant's initials?

   21   A     JGL.

   22                MS. LISKAMM:    And at this point, your Honor, and I

   23   believe there's no objection, we'd like to admit Government

   24   Exhibit 517, which is a PowerPoint.

   25                THE COURT:   Okay.    Received.



                                  LAM       OCR     RPR
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                           Lopez Nunez - direct - Liskamm                   5921


    1                (Government Exhibit 517 so marked.)

    2                MS. LISKAMM:    And for the record, the PowerPoint

    3   contains the transcripts -- translations of these letters,

    4   which are Government Exhibits 806-1T, 806-2T, and 806-3T.

    5                (Exhibits published to the jury.)

    6   Q     And let's go ahead to Slide 4.         Looking at Line 13

    7   through 16, it says:      I wanted to ask you and my children to

    8   talk among yourselves about what you hear and don't take to

    9   heart what people are saying.        We already know that without a

   10   finger they will never do anything.          There are two things that

   11   must be done:     No one should know where you all sleep except

   12   yourselves and don't go to public places, and nothing will

   13   ever happen.

   14                What is the Defendant saying to you here?

   15                THE COURT:   Hold on a second.

   16                MR. BALAREZO:      Objection.

   17                THE COURT:   What's the objection?

   18                MR. BALAREZO:      The document speaks for itself.

   19                THE COURT:   No, it doesn't.      The witness can give

   20   his understanding of the document.

   21                MS. LISKAMM:    Thank you.

   22   A     For my compadre's sons and myself to have good

   23   communication so as not to get involved in gossip and to be

   24   careful not to be in public places and to take care of

   25   ourselves.    Basically, that was the recommendation.



                                  LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                   5922


    1   Q     What does that mean, not to go to public places?

    2   A     Because people might recognize you and give information

    3   about you.

    4   Q     And why would that be a problem?

    5   A     Because we were hiding from the government.

    6   Q     On Line 14 on this slide, there's a reference to a

    7   "finger."

    8                What is that a reference to?

    9   A     "Finger" is a person who gives information about someone

   10   else to the government.

   11

   12                (Continued on the following page.)

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                                 LAM       OCR      RPR
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                                 Lopez - direct - Liskamm                   5923


    1   BY MS. LISKAMM:       (Continuing.)

    2   Q       Okay.    And let's continue on.   We'll jump down to line

    3   19.   "The danger is the people from the company because

    4   they're the ones who know about you and they're the ones that

    5   can set you up.       The five of you should talk about what I'm

    6   telling you and like I say without a finger, they will never

    7   find you all and a finger will always be someone close to us."

    8                   And what is being discussed here?

    9   A       That, in fact, the only people that we were running a

   10   risk from were those who knew us and worked with us.           So that

   11   we had to be very careful from our own people, especially

   12   those who knew where we spend the night.

   13   Q       On line 20 there's a reference to "the company."        What is

   14   that?

   15   A       The company in which I worked with my compadres.        That's

   16   how we used to call it, enterprise or company.

   17   Q       I thought I heard you use the word empresa; is that

   18   correct?

   19   A       Yes, company, enterprise.

   20   Q       Okay.    And then on line 21 it says, "The five of you."

   21   Who is that a reference to?

   22   A       My compadre's four sons and myself.

   23   Q       And before we move on to the next slide on line 17,

   24   there's a reference to a Rene.        Who is that?

   25   A       Rene is the person in charge of La Paz Plaza in Baja



                                    SN     OCR     RPR
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                               Lopez - direct - Liskamm                     5924


    1   California Sur.

    2   Q     Is that the same Rene that we discussed in the intercept

    3   yesterday?

    4   A     Yes.

    5   Q     Okay.    Let's move on to the next slide, slide five.

    6   Starting on line 24, "Apart from that I ask you to see what

    7   Pollito is doing.     We need to catch those people and if

    8   Pollo's people don't do anything, you need other collectors

    9   recommended to you, because that Chef and Caballero kept one

   10   ton that belongs to the five:       Cosina and I, and the rest.       I

   11   invested everything I sent to Canada from Enrique's brothers.

   12   More than three were bought with all that money and those two

   13   scoundrels kept everything."

   14                 What is being discussed here?

   15   A     When my compadre was arrested those people who help him

   16   in Columbia take possession of the merchandise that my

   17   compadre had bought.      So my compadre sent a message to me to

   18   speak to Pollito, one of our friends in Columbia, to look for

   19   those people and help recover the merchandise.

   20   Q     The Pollito that's referenced on line 24, is that the

   21   same Pollito that we discussed yesterday in the intercepts?

   22   A     Yes.

   23   Q     The reference on line 26 to Cosina is a reference to who.

   24   A     Mr. Mayo.

   25   Q     And the 5 on that same line is a reference to who?



                                  SN      OCR      RPR
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                               Lopez - direct - Liskamm                     5925


    1   A     The partners, the partners; Mayo, my compadre, Mauricio,

    2   Pancho and Aldo.

    3   Q     And the reference to Enrique's brother, who is that a

    4   reference to?

    5   A     Cesar's brother.

    6   Q     It says "more than three were bought."        What is three?

    7   A     Three tons.

    8   Q     Okay.   And then still on line 28 there's a reference to

    9   Panchito, who is that?

   10   A     Panchito, Jorge's brother.

   11   Q     Okay.   And then moving down to line 30, there's a

   12   reference to a Lic Oscar.       Who is that?

   13   A     That's the attorney who would visit my compadre.

   14   Q     And is that the person who gave you these letters?

   15   A     Yes.

   16   Q     Going to slide six, "Speaking of J.        My friend tells me

   17   that he won't stop talking.       Who is J."

   18   A     Jorge, Panchito's brother.

   19   Q     And what is being discussed here?

   20   A     It is understood that he hasn't stopped talking to the

   21   Government meaning providing information.

   22   Q     At this point was Jorge Cifuentes in custody or out of

   23   custody?

   24   A     He was in custody.

   25   Q     Turning to slide seven on line 40 it says, "Apart from



                                  SN      OCR      RPR
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                                Lopez - direct - Liskamm                    5926


    1   that, I ask that the biweekly salary be given to Ricon's wife.

    2   Who is Ricon?

    3   A       I don't know him.

    4   Q       Okay.   Have you ever discussed who he is with the

    5   defendant?

    6   A       Yeah.   He's the one who helped him in Ecuador and

    7   Columbia.

    8   Q       Helped him how?

    9   A       Finding the drugs and all the different errands related

   10   to the drugs.

   11   Q       And then on line 41 again there's a reference to Lic

   12   Oscar, is that the same Lic Oscar?

   13   A       Yes.

   14   Q       Okay turning to the next lines 44 and 45.       "I ask you to

   15   hurry Cleto up.       I will be sending you all messages with the

   16   lady.    Also let me know through her if there's anything new."

   17   What's being discussed here?

   18   A       Well, for me to hurry Cleto up.     Cleto would help with

   19   the heroin.     He would add the cut to the heroin.

   20   Q       Is this the same five that we discussed in the intercepts

   21   yesterday?

   22   A       Yes.

   23   Q       And it says, I will be sending all messages but with the

   24   lady."    Who is the lady?

   25   A       My comadre.



                                    SN    OCR      RPR
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                               Lopez - direct - Liskamm                     5927


    1   Q     Who is your comadre?

    2   A     Emma.

    3   Q     And if we can go to slide 11.       At the end of the letter,

    4   "Well, compadre, I send you a hug.        Regards to my godchildren,

    5   my comadre, your daughter, my compadres, your sisters, your

    6   mother and your brothers.       Your compadre, who loves you and

    7   appreciates you, JGL."

    8                 Is the defendant just saying goodbye in the letter?

    9   A     Yes.

   10   Q     Okay.    Let's now turn to slide 13.       And this is from the

   11   second letter which is Government Exhibit 806-2.          "Compadre,

   12   do me a favor and talk to Pollito.        Tell him I say hi and to

   13   please recommend a collector to tie up Chef so that he gives

   14   up the 400 he has, and there are 400 more with a friend who

   15   was arrested together with the pilots that Cachimbas sent."

   16                 What is being discussed here?

   17   A     That Pollito should talk to Chef so that he would recover

   18   the 400 kilos and the other 400 that another person had.

   19   Q     400 kilos of what?

   20   A     Drugs.

   21   Q     Is this the same weight that we discussed?

   22   A     Yes.

   23   Q     And who is Chef?

   24   A     I don't know him.

   25   Q     And how about Cachimba?



                                  SN      OCR      RPR
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                               Lopez - direct - Liskamm                     5928


    1   A     Cachimba is a pilot who worked with my compadre.

    2   Q     Turning to slide 14, lines 10 and 11:        "Remember to pay

    3   Callo and Conta's rent in Europe.        Those companies are clean.

    4   The diputada is aware of that -- is aware of that so as to get

    5   them going."

    6                 Who is Callo?

    7   A     I don't know him.

    8   Q     Have you ever talked to the defendant about who Callo is?

    9   A     Yes, he would help him in Ecuador with everything related

   10   to drugs.

   11   Q     And is that the same Callo that we discussed yesterday in

   12   the intercepts?

   13   A     Probably so, yes.

   14   Q     Okay.    What is the reference to the companies being

   15   clean?

   16   A     Some companies that have been registered in Europe but

   17   when I met up with the diputada, when I spoke to her, she told

   18   me that those papers had been at the house, that they had been

   19   searched and we shouldn't trust them.

   20   Q     What had those companies been used for?

   21   A     I assume that they would be used to move merchandise, to

   22   move the drugs.     That's my assumption.      I don't know.

   23   Q     Going to line 13 it says, "One time remained there with

   24   the cocaine, El Caballero."       One time what?

   25   A     Cocaine.



                                  SN      OCR      RPR
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                               Lopez - direct - Liskamm                     5929


    1   Q     Moving ahead to slide 16.      On line 25 it says, "The

    2   person who's in jail over there with Eduardo also has 50

    3   bullets of 40 and 5 of RPG7."       What is Eduardo?

    4   A     Ecuador.

    5   Q     And what is the reference to 50 bullets of 40?

    6   A     That's the 50 bullets of 40 caliber that were used with

    7   the grenade launchers.

    8   Q     Okay.    And the five of RPG7 is a reference to what?

    9   A     Those are more powerful weapons like some tubes that

   10   actually launch bullets and the bullets are much larger.

   11   Q     Okay.    And moving down to lines 28 and 29, "And Ricon has

   12   322 kilos and 443 of 40 and 13 of RPG7.           Pick up everything

   13   any way possible."

   14                 What is this a reference to?

   15   A     Well, it's understood that they're referring to 322 kilos

   16   of drugs and 433 bullets of 40.         In addition to 13 bullets of

   17   RPG7s.

   18   Q     It says "Pick up everything."        Do you know where that was

   19   supposed to be picked up?

   20   A     We had to look for that person and then see if that

   21   person would help.     And Pollito was going to be helping.

   22   Q     Who is that person?

   23   A     The person who had my compadre's things.

   24   Q     Do you know what that person's name was?

   25   A     Well, the cook.     And Cachimbas' friend who he called El



                                  SN      OCR       RPR
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                                 Lopez - direct - Liskamm                    5930


    1   Batalloso.

    2   Q       Moving on to slide 17.      At line 37, "For anything having

    3   to do with Chuy Tono, talk immediately with my comadre on my

    4   behalf and she will resolve any problems.         Oscar communicates

    5   with my comadre, so does the mother of the twins.          So if

    6   anything comes up they will put her in contact with you all."

    7                   Who is Chuy Tono?

    8   A       Chuy Tono was the director of that ministerial state

    9   police.

   10   Q       Why was the defendant telling you a reference to Chuy

   11   Tono?

   12   A       Because Chuy Tono was misbehaving with my son and with me

   13   and his intention was to arrest us.

   14   Q       And the reference to comadre, who is that a reference to?

   15   A       My compadre's comadre.

   16   Q       And who is that?

   17   A       I know her, but I don't recall her name.

   18   Q       Okay.    And how about the mother of the twins?

   19   A       My comadre, Emma.

   20   Q       And the reference to Oscar?

   21   A       My compadre's attorney.

   22   Q       The one who gave you the letters?

   23   A       Yes.

   24   Q       Okay.    And let's now go to slide 21.    All right.    It

   25   says, "I wanted to tell you that although nothing here is



                                    SN      OCR     RPR
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                               Lopez - direct - Liskamm                     5931


    1   easy, in a way I have gotten lucky because the director has

    2   been very kind to me.      He has helped me when I asked."

    3               What is this a reference to?

    4               MR. BALAREZO:      Objection.

    5               THE COURT:    Overruled.

    6   A     It is understood that the director of the jail where my

    7   compadre was at had gotten him some of the things that my

    8   compadre had requested from him.

    9   Q     Turning to slide 22 -- actually, sorry, we're going to

   10   skip that one and move this along.          Turning to slide 23

   11   starting on line 27, it says, "Hire accountants throughout the

   12   state and pay the guys and widows from there.          And whatever is

   13   left per month, half is for you and half for the four of

   14   them."

   15               What does this mean?

   16   A     Well, my compadre was recommending -- well, since in

   17   Sinaloa in some of the cities they were selling drugs in

   18   retail, Narco Menudeo, that we had to have an accountant and

   19   have only one account so that accountant will have all of the

   20   accounting and from there we would pay the widows of hit men

   21   who had passed away.      We would then pay the active hit men.

   22   We would also cover the expenses of the ranches and what was

   23   left was going to be split up into parts.          One for the four

   24   sons of my compadre and the other part for me.

   25   Q     All right.    Turning to slide 24 starting at line 32, "And



                                  SN       OCR       RPR
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                               Lopez - direct - Liskamm                     5932


    1   if three is okay, let me know and if they got it file a writ

    2   of amparo.    You know who has the papers from that place.         Send

    3   them to the girl twins please.       The twins' mother will tell

    4   you and my children something.       Please be alert, compadre.

    5   She will explain."

    6                What is the reference to 3 here?

    7   A     Well, 3 that's how we called the place which was a

    8   landing airstrip.

    9   Q     And what is being discussed here in reference to that

   10   airstrip?

   11   A     Well, what happened was that the Navy had intervened.

   12   They took control of that area and they established a base of

   13   operations there.     And that's why my compadre was suggesting

   14   that we should file a writ of amparo so that we could recover

   15   that place.

   16   Q     What is a writ of amparo?

   17   A     It is a brief or a written request that is filed with a

   18   judge requesting for them to return -- for them to return the

   19   place to the rightful owner and for that to be vacated by the

   20   Government.

   21   Q     And at the end of this section on line 35 it says, "She

   22   will explain."     What does that mean?

   23   A     That he was going to send a message with my comadre.

   24   Q     And who is that?

   25   A     My comadre, Emma.



                                  SN      OCR      RPR
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                                 Lopez - direct - Liskamm                   5933


    1   Q       Turning to slide 25, "Apart from that, Oscar has been

    2   telling me what you said about Pollito.            And over there with

    3   Eduardo, over there with Callo.          Please pick up the 400 that

    4   Chef has and there are 400 more with a person who is in jail.

    5   He also has 50 bullets of 40 and 5, like the one Negro gave

    6   Cosina as a gift.       Ricon has 322 and 443 bullets of 40 and 13

    7   bullets like the one my compadre Negro gave Cosina as a gift."

    8                   This reference to the 400 that Chef has is a

    9   reference to what?

   10   A       Drugs.

   11   Q       Okay.    And the 5 like the ones Negro gave Cosina as a

   12   gift, who is Negro?

   13   A       Negro was the head of security for my compadre.

   14   Q       The Negro that we is previously discussed?

   15   A       Yes.

   16   Q       And who is Cosina?

   17   A       Mr. Mayo.

   18   Q       Do you know what the 5 were that Negro gave him as a

   19   gift?

   20   A       Yes, they were five bullets for RPG7.

   21   Q       Is that the same reference below where it says 13 bullet

   22   like the ones my compadre Negro gave Cosina as a gift?

   23   A       Yes.

   24   Q       Moving ahead to slide 27, "Regarding Cleto, increase it

   25   so there is more production.       Say hi to Cleto.      Tell him to do



                                    SN     OCR       RPR
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                               Lopez - direct - Liskamm                     5934


    1   me a favor and help me out so that the first thing sold is my

    2   share.   You also, please do me the favor because I have a lot

    3   of expenses here on a daily basis."

    4                 What is this a reference to?

    5   A     Cleto was fixing the cut.      He was mixing that with the

    6   cocaine -- synthetic, and my compadre wanted to increase the

    7   production with respect to that and for Cleto to sell my

    8   compadre's share because my compadre needed money.

    9   Q     Okay.    Turning to slide 29.     This will be the last one.

   10   "Apart from that, the company in Europe needs to get running.

   11   It is clean and Callo is also.       I spoke with the Diputada for

   12   all of that."

   13                 What is that a reference to?

   14   A     We spoke a while ago about the companies in Europe.

   15   Q     And is that the same companies?

   16   A     I suppose they are.

   17   Q     Okay.    And the reference to diputada?

   18   A     Ms. Lucero.

   19   Q     And lastly starting on line 86, "The twins' mother will

   20   write a message to all of you so that you all see it

   21   personally."     At this time when you received these letters

   22   were you having contact with Emma Cornell?

   23   A     Yes.    I had communications with her through my compadre's

   24   sons or through the lawyer.

   25   Q     Or what type of communication or what would you discuss



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                               Lopez - direct - Liskamm                     5935


    1   with her at this time?

    2   A     Messages to my compadre, she also looked me up, she

    3   wanted to speak in person with me and we did so.            We spoke in

    4   person in Culiacan.

    5   Q     We'll talk about that in one second.

    6                 MS. LISKAMM:    If we can switch back to the ELMO.

    7   Q     I'm showing you page two of Exhibit 806-3 and Mr. Lopez

    8   right here on the letter what is that word?

    9   A     It says there perico.

   10   Q     And what is that?

   11   A     It is a word used to refer to cocaine also.

   12   Q     Okay.    Now, Mr. Lopez, I wanted to direct your attention

   13   to March of 2014.     Did you meet with Emma at that time?

   14   A     Yes.

   15   Q     And where did that meeting take place?

   16   A     In the city of Culiacan.

   17   Q     And what did you discuss at that meeting?

   18                 MR. BALAREZO:       Objection.   Objection.

   19                 THE COURT:   Hold it.     Hold it.

   20                 MR. BALAREZO:       Hearsay.

   21                 THE COURT:   Overruled.

   22   BY MS. LISKAMM:

   23   A     My comadre mentioned to me that my compadre sent his

   24   regards and he also said he was okay given the circumstances

   25   and to do him the favor of getting someone to be sent to



                                     SN       OCR      RPR
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    1   Toluca so that he could help with some errands.

    2   Q     To be clear, at this time where was the defendant?

    3   A     He was in jail at the Altiplano prison.

    4   Q     And you said that the request was to send someone to

    5   Toluca?

    6   A     Yes.

    7   Q     What is Toluca near?

    8   A     Toluca is basically to the south of Altiplano prison,

    9   very close to the place.

   10   Q     And did you agree to help the defendant with this?

   11   A     Yes.

   12   Q     Who did you send to Toluca?

   13   A     I sent Leonardo there, one of my brothers-in-law.

   14   Q     Okay.    And at a later point in time did you talk to

   15   Leonardo about what he was doing in Toluca?

   16   A     Yes.

   17   Q     And what did he tell you?

   18   A     That he -- that he had been having meetings with some

   19   guards and that he was paying them.

   20   Q     Okay.    Did you meet with Emma again?

   21   A     Yes.

   22   Q     Where?

   23   A     At the same place in the city of Culiacan also.

   24   Q     And approximately when was this meeting?

   25   A     I think it was in April -- towards the end of March



                                  SN      OCR      RPR
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                               Lopez - direct - Liskamm                     5937


    1   beginning of April, around then approximately.

    2   Q     And what did you discuss with her at this meeting?

    3   A     My comadre mentioned to me --

    4               MR. BALAREZO:      Same objection.

    5               THE COURT:    Overruled.

    6   A     My compadre was sending the message that he was thinking

    7   of taking the risk again and escape from the prison.           And he

    8   wanted to know whether I could help him with that.

    9

   10               (Continued on the following page.)

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                                  SN       OCR     RPR
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                             Lopez Nunez - direct - Liskamm                 5938


    1   BY MS. LISKAMM:      (Continuing)

    2   Q     Okay.   And what was your response?

    3   A     That I would do it.

    4   Q     Okay.   And you said that the meeting was either at the

    5   end of March or the beginning of April.          What year?

    6   A     Approximately 2014.

    7   Q     Okay.   Did you have any further meetings with Emma?

    8   A     Yes.

    9   Q     When was that?

   10   A     I think it was June, May or June of the same year.

   11   Q     Okay.   And who was present at that meeting?

   12   A     That meeting took place at a different place and my

   13   compadre's sons were present.

   14   Q     And what was discussed at that meeting?

   15   A     My compadre was asking -- he sent his sons, the question

   16   whether they had already obtained the piece of land close to

   17   Altiplano prison and he was also asking me to get a warehouse

   18   close to Altiplano also.       He also asked me to get him some

   19   weapons and a pickup truck and an armored pick up truck.

   20   Q     How were these requests relayed to you?

   21   A     My compadre gave us his message.

   22   Q     Okay.   And was there discussion as to why defendant's

   23   sons were to look for a piece of land near the prison?

   24   A     The piece of land was because a tunnel had to be built

   25   and then they would start to work.



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5939


    1   Q     And was there a discussion about how the people digging

    2   the tunnel were going to find the right location to dig?

    3   A     Yes.    We were looking for a way to obtain a watch that

    4   had GP, a GPS application that could give the coordinates of

    5   the place.

    6   Q     And what was to happen with that GPS watch?

    7   A     Well, we had to buy it and get inside the prison to get

    8   the coordinates from the cell where my compadre was.

    9   Q     Okay.    What did you do after this meeting?

   10   A     I dedicated myself to get what had been asked from me.

   11   Q     Okay.    And were you able to accomplish your tasks?

   12   A     Yes.

   13   Q     Okay.    Was there another meeting with Emma and the

   14   defendant's sons?

   15   A     We got together again at the same place which was my

   16   compadre's sons' property.       My compadre was present, Ivan,

   17   Alfredo.     I don't remember if Ovidio and Joaquin were there

   18   and myself.

   19   Q     Sorry.    Just to clarify, who was present at the meeting?

   20   A     My comadre, Ivan, Alfredo, Ovidio and myself.

   21   Q     Okay.    And you said you weren't sure about Joaquin?

   22   A     Exactly.

   23   Q     And when did this meeting occur?

   24   A     It was about a month later or maybe a little less than

   25   the previous meeting.      I think it was in July approximately.



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5940


    1   Q     Of what year?

    2   A     '14.

    3   Q     And what was the purpose of this meeting?

    4   A     My compadre had wanted to know the progress.         His sons

    5   mentioned that they had already obtained the piece of land but

    6   they were about to close on it and that they were also about

    7   to get the watch.      Then I continued doing the things that I

    8   had to do.    I mean, it wasn't something that you could do

    9   overnight but I was working on my things.

   10   Q     You mentioned the sons that were present at that meeting

   11   and you weren't sure about Joaquin.        Which Joaquin are you

   12   talking about?

   13   A     My compadre's son.

   14   Q     Okay.   At some point -- you said you had not completed

   15   the tasks that had been requested of you, correct?

   16   A     It wasn't completed at that time but when it was needed,

   17   it was.

   18   Q     At some point, you had completed the tasks that were

   19   requested of you?

   20   A     Yes.

   21   Q     Okay.   And did you have any further meetings with

   22   defendant's sons to discuss an escape plan?

   23   A     His sons and I got together on one occasion.         We spoke.

   24   That was, that was already in 2015.        His sons mentioned to me

   25   that my compadre sends a message that he was already hearing



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5941


    1   noises where he was, meaning those who were excavating, they

    2   were already underneath.       They said that can't be, how can you

    3   hear noises from underneath.       At one point, they even

    4   convinced me of thinking the same way, but the truth was that

    5   the noises were coming from the concrete, from the floor

    6   below, not meters under the ground.        That's why you could hear

    7   it.

    8   Q     Was there a discussion at that meeting about a specific

    9   date that the escape was going to happen?

   10   A     Well, what my compadre explained was it took place on a

   11   weekend, Saturday and Sunday, because there are no officials

   12   at the jail in those days and there are no visits from people

   13   from the courts bringing notifications.

   14   Q     Did you see the defendant again after this last meeting

   15   with his sons?

   16   A     Yes, I did see my compadre once he had already escaped.

   17   Q     And where did you see him?

   18   A     In the highlands, in La Tuna.

   19   Q     And approximately when was that?

   20   A     The escape was July 11th and I saw him about a week after

   21   the escape.

   22   Q     Who else was present for that meeting with the defendant?

   23   A     My son came with me, he wanted to greet my compadre.           And

   24   at the place in La Tuna, Pedrito Loiaza was there, and

   25   acquaintance, a friend of ours.



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5942


    1   Q     What, if anything, did Pedrito Loiaza do for the cartel?

    2   A     Pedrito Loiaza had contacts in Belize so he could receive

    3   drugs when needed there.

    4   Q     Okay.   Going back to the meeting that you had with the

    5   defendant, what was discussed at that meeting?

    6   A     Well, we were all happy because of what had happened, my

    7   compadre's escape, and it was then when my compadre mentioned

    8   to me that, in fact, it had been months that he had been

    9   listening to noises from underneath but the concrete had been

   10   very difficult to break through and that that caused a lot of

   11   noises and it was bothering the other inmates who were, in

   12   fact, complaining about the noise that was being heard.

   13   Q     Did the defendant provide you with any other details of

   14   the escape itself?

   15   A     Yes.    When he went down, he rode on a motorcycle, on a

   16   kind of motorcycle that had some, like, pulleys pulling it.

   17   And that that way -- he got to the exit to the last piece,

   18   piece of land where they had started building the tunnel.            And

   19   from there, he was transported to the warehouse that I had

   20   rented on an ATV.      And from there, they went to San Juan del

   21   Rio, Queretaro, where a plane was already waiting for him to

   22   take him to Sinaloa.

   23   Q     The motorcycle that you just referenced, where was that

   24   motorcycle located?

   25   A     At the exit of the tunnel.



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                   5943


    1   Q     Okay.   How did the defendant use the motorcycle in the

    2   tunnel?

    3   A     Oh, no, no, no.     Well, there were two motorcycles, one

    4   inside the tunnel and an ATV outside of the tunnel.

    5   Q     The one in the tunnel, how was it used?

    6   A     Another person drove it.

    7   Q     Okay.   Through the tunnel?

    8   A     Yes.

    9   Q     Okay.   And then who helped transport the defendant from

   10   the exit of the tunnel to the warehouse?

   11   A     One of my comadre's brothers.

   12   Q     Okay.   And then you said that he was driven, the

   13   defendant was driven to an airstrip to get on an airplane?

   14   A     Yes.

   15   Q     And who was the pilot that flew the defendant away?

   16   A     Cachimba.

   17   Q     Have you ever met Cachimba?

   18   A     Yes.

   19   Q     Showing you what's already in evidence as Government's

   20   Exhibit 93, who is this?

   21   A     He is Cachimba.

   22   Q     Okay.   At a certain point after the defendant escaped,

   23   did he ask you to set up a meeting with Mayo?

   24   A     Yes, my compadre called me and he told me that he wanted

   25   to talk to a Mr. Mayo and for me to look him up.           And so I



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5944


    1   sought out Mr. Mayo.      He was very pleased.     He also wanted to

    2   greet my compadre and Mr. Mayo asked me where that meeting

    3   would take place.      I asked my compadre and he told me that at

    4   La Tuna.     And so Mayo said to me, Oh, I have a pilot and I

    5   also have the plane.      And he said he's going to take us and he

    6   asked me to accompany him.

    7   Q     And did you go?

    8   A     Yes, I accompanied him.

    9   Q     Where did the plane land?

   10   A     At La Tuna.

   11   Q     And what happened after the plane landed?

   12   A     My compadre was waiting for us right there at the

   13   airstrip.     He picked us up.    And we went up to the place where

   14   he was at, where he was resting.

   15   Q     Okay.    And what was the name of that location that you

   16   went to?

   17   A     My compadre would call that place as El Cielo, the sky.

   18   Q     Okay.    What happened at that meeting?

   19   A     We got there, we had breakfast and once I, once I had my

   20   breakfast, I actually stepped aside, I left the table, and at

   21   the table, then it was my compadre, Mr. Mayo, and Mauricio who

   22   was accompanying Mr. Mayo who stayed there to talk.

   23   Q     Okay.    Did you have any further meetings with the

   24   defendant after this?

   25   A     Yes.



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5945


    1   Q     Approximately how many?

    2   A     Total?   Well, after my compadre's escape, I met up with

    3   him eight or nine more times, more or less.

    4   Q     Directing your attention to January of 2016, what

    5   happened to the defendant?

    6   A     My compadre was arrested.

    7   Q     Did you talk to Javi about what had happened to the

    8   defendant?

    9   A     Yes.    Javi reported to me once he found out saying that

   10   they were reporting an operation in the city of Los Mochis

   11   where they wanted to arrest and capture my compadre but that

   12   he had fled from the operation, however, when he was going

   13   from Los Mochis to Guasave, he had been detained by the

   14   federal roadway police.

   15   Q     Okay.    Directing your attention to February of 2016, did

   16   you have any meetings with Emma?

   17   A     Yes, my comadre sought me out.

   18   Q     And what happened at that meeting?

   19   A     My comadre told me that my compadre sent his regards and

   20   that he would send word to say that he was going to make a

   21   huge effort to escape again and he would also send word to ask

   22   me to, to ask me if I could help him.

   23   Q     And what did you say?

   24   A     I said yes, I would help him.

   25   Q     Okay.    Was that the only meeting you had with Emma during



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                   5946


    1   this time?

    2   A     No, we met up again after that.

    3   Q     Approximately when?

    4   A     About a month or even less than a month.         What happened

    5   was that at that meeting, I told my comadre that I could help

    6   my compadre but that I didn't have any money.          So my comadre

    7   sought me out again and we met again and she told me that my

    8   compadre wanted me to start looking for a plot of land close

    9   to the jail and that he had sent some money and that I think

   10   it was $100,000 and that later on, I was going to be given

   11   more depending on the price of the plot of land.           And that

   12   money was delivered to Culiacan.

   13   Q     Did you receive the money?

   14   A     One of my workers.

   15   Q     Did you speak with Javi to determine what prison the

   16   defendant was located at at this time?

   17   A     At the time, my compadre was at Altiplano but, you know,

   18   the only thing was that about a month or two months later, he

   19   was switched to the prison in Ciudad Juarez.

   20   Q     And did you meet with Emma again?

   21   A     Yes.

   22   Q     And what did you discuss?

   23   A     My comadre told me that they were trying to figure out a

   24   way for my compadre to go back to the Altiplano jail, that the

   25   director of the centralized entity of prevention and social



                       CMH       OCR     RMR       CRR      FCRR
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                              Lopez Nunez - direct - Liskamm                5947


    1   rehabilitation, which is like the chief of all the different

    2   prisons in Mexico, that he was helping and that some money had

    3   been given to him and they were just waiting for them to send

    4   my compadre back.

    5   Q     How much money was paid to the director of the prisons?

    6   A     I remember I was told it was $2 million.

    7   Q     Were you able to help the defendant eventually escape?

    8   A     No.   My compadre wasn't taken back to the Altiplano jail.

    9   Q     Okay.

   10                 (Continued on next page.)

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                        CMH       OCR     RMR      CRR      FCRR
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                                                                            5948


    1               MS. LISKAMM:       Your Honor, this might be a good time.

    2               THE COURT:    Okay.       We will take our morning break,

    3   ladies and gentlemen.      Please don't talk about the case.       See

    4   you at 11:20.

    5               (Jury exits.)

    6               THE COURT:    Okay.       15 minutes.

    7               (Recess taken.)

    8               (In open court; jury not present.)

    9               THE COURT:    We'll have the jury back, please.

   10               Wrapping up, right?

   11               MS. LISKAMM:       Yes.    I just have a couple of calls to

   12   go through and then I'm done.

   13               (Jury enters.)

   14               THE COURT:    All right.        Everyone, be seated.

   15               We will continue direct.

   16               (Continued on next page.)

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                       CMH       OCR          RMR     CRR     FCRR
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                              Lopez Nunez - direct - Liskamm                5949


    1   BY MS. LISKAMM:

    2   Q       Okay.   We're in the final stretch here.      I have a couple

    3   of calls I want to talk to you about, Mr. Lopez.

    4   A       Yes.

    5   Q       We previously discussed Panchito or Alex Cifuentes.         How

    6   many times have you talked to him?

    7   A       On several occasions.

    8   Q       And were these conversations with Alex over the phone or

    9   face to face?

   10   A       Both.

   11   Q       And based on these conversations, are you familiar with

   12   Alex's voice?

   13   A       Yes.

   14   Q       Okay.   Do you know who the Flores twins are?

   15   A       Yes.

   16   Q       Where do they work?

   17   A       I met one of them in Chicago, they worked.

   18   Q       Okay.   How many times did you talk to the twins?

   19   A       Over the phone, two or three times and face to face,

   20   once.

   21   Q       And based on those conversations, are you familiar with

   22   what the twins' voices sounded like?

   23   A       Yes, one of them.

   24   Q       Okay.   And similarly, how many times have you spoken with

   25   the defendant?



                        CMH       OCR     RMR      CRR      FCRR
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                                Lopez Nunez - direct - Liskamm                 5950


    1   A       Many, many times.

    2   Q       Okay.    And were these conversations face to face or over

    3   the phone?

    4   A       With my compadre?         Over the phone and face to face as

    5   well.

    6   Q       And based on those conversations, are you familiar with

    7   the defendant's voice?

    8   A       Yes.

    9   Q       All right.      Showing you Government's Exhibit 609-M which

   10   is already in evidence, do you recognize this?

   11   A       Yes, I wrote on it.

   12   Q       What did you write on it?

   13   A       My initials and the date on which I wrote on it and I put

   14   the names Panchito, Chapo, referring to my compadre, and

   15   Cuate, meaning a twin.

   16   Q       And what do the three names on this disc signify?

   17   A       That the three of them participate in the phone call that

   18   I listened to.

   19   Q       Okay.    We're now going to play just two very short clips

   20   from Government's Exhibit 609-M starting at 6 seconds and

   21   going to 19 seconds.

   22                   (Audio played.)      (Audio stopped.)

   23   Q       And Mr. Lopez, whose voices did you just hear?

   24   A       I heard my compadre's voice and Cuate's voice.

   25   Q       Okay.    And we're going to play another clip from 609-M



                          CMH       OCR       RMR     CRR       FCRR
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                                Lopez Nunez - direct - Liskamm              5951


    1   starting at 1 minute and 14 seconds.

    2                   (Audio played.)   (Audio stopped.)

    3   Q       Mr. Lopez, whose voices did you hear?

    4   A       Panchito and the twins.

    5   Q       Okay.    Now, we previously discussed one of the

    6   defendant's nephews who you referred to as Alfredo.           How many

    7   times have you spoken to him?

    8   A       Several times.

    9   Q       And were those conversations face to face or over the

   10   phone?

   11   A       Both.

   12   Q       Okay.    Showing you Government's Exhibit 606-M which is

   13   already in evidence, do you recognize this?

   14   A       Yes.

   15   Q       And how do you recognize it?

   16   A       I wrote on the disc.

   17   Q       And what are these names on the right-hand side of the

   18   disc?

   19   A       Those who participate in the call that I listened to.

   20   Q       And who did you hear on this call?

   21   A       My compadre and Alfredo, 02.

   22   Q       And what other name does Alfredo go by?

   23   A       Panchito used to call Alfredo "Tomas."

   24   Q       Now, we previously discussed Cholo.       How many times have

   25   you spoken with Cholo?



                          CMH       OCR     RMR     CRR      FCRR
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                             Lopez Nunez - direct - Liskamm                 5952


    1   A     On several occasions.

    2   Q     Same questions.     Were these conversations over the phone

    3   or face to face?

    4   A     With Cholo, it was face to face.

    5   Q     And based on these conversations, are you familiar with

    6   Cholo's voice?

    7   A     Yes.

    8   Q     Okay.    Do you know somebody who goes by the name M-10?

    9   A     Yes.

   10   Q     Okay.    What name do you know him by?

   11   A     Mario.

   12   Q     And who is he?

   13   A     They also called him Flaco.       That person used to work for

   14   the Juarez cartel and he tried to come in to work for my

   15   compadre.

   16   Q     And how many times have you spoken to him?

   17   A     I was at several meetings in person that my compadre held

   18   with him and I heard his voice several times.

   19   Q     Based on these conversations, are you familiar with

   20   M-10's voice?

   21   A     Yes.

   22   Q     Okay.    And we previously discussed someone named Guano.

   23   How many times have you spoken with him?

   24   A     I was able to greet him several times when he would go

   25   visit my compadre in the mountains.



                       CMH       OCR     RMR       CRR      FCRR
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                                Lopez Nunez - direct - Liskamm              5953


    1   Q       And, again, who was Guano to the defendant?

    2   A       He's my compadre's brother.

    3   Q       Okay.    Based on the conversations that you had with him,

    4   are you familiar with Guano's voice?

    5   A       Yes.

    6   Q       Okay.    And, lastly, we've talked about Juancho.      How many

    7   times have you talked to him?

    8   A       Several times.

    9   Q       And were these conversations over the phone or face to

   10   face?

   11   A       Both.

   12   Q       And based on those conversations, are you familiar with

   13   his voice?

   14   A       Yes.

   15   Q       All right.      I'm showing you -- this is for the witness

   16   only -- what's been marked as 601-L for identification.           Do

   17   you recognize this?

   18   A       Yes.

   19   Q       What do you recognize this to be?

   20   A       My initials and the date in which I wrote on it.

   21   Q       And what do your initials and date signify on this disc?

   22   A       The day that I listened to this disc with all the phone

   23   calls, I wrote on it with that date.

   24                   (Continued on next page.)

   25



                          CMH       OCR     RMR     CRR     FCRR
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                           Lopez Nunez - direct - Liskamm                   5954


    1   (Continuing.)

    2                MS. LISKAMM:    And, again, for the witness only.

    3   BY MS. LISKAMM:

    4   Q     Showing you what's been marked as 601L-8 for

    5   identification, do you recognize this?

    6   A     Yes.

    7   Q     And what do you recognize this to be?

    8   A     The calls that were made that I registered on the disc.

    9   They are seven phone calls between my compadre and different

   10   people.

   11                MS. LISKAMM:    Okay.    At this time, your Honor, the

   12   Government seeks to admit Government Exhibit 601L and 601L-8.

   13                MR. BALAREZO:      No objection.

   14                THE COURT:   Received.

   15                (Government Exhibits 601L and 601L-8 so marked.)

   16                (Exhibit published to the jury.)

   17   Q     Now, Mr. Lopez, there's a number of exhibit numbers down

   18   the left-hand side of this sheet.

   19                Are those the different subsets of calls that you

   20   listened to on this disc?

   21   A     Yes.

   22   Q     And there are handwritten notes written down next to each

   23   one of those exhibit numbers.

   24                What are those?     What does that signify?

   25   A     The people who participated in each of the phone calls.



                                  LAM        OCR    RPR
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                           Lopez Nunez - direct - Liskamm                   5955


    1   Q     So, just going through them one by one, on the first

    2   subset of calls, who did you hear on that subset?

    3   A     My compadre and Cholo.

    4   Q     On the right-hand side of the page there are numbers with

    5   the word "llamadas" next to it.

    6                What does that signify?

    7   A     The number of phone calls that my compadre had with El

    8   Cholo, five calls, from the ones -- and I listened to those.

    9   Q     For all five of these calls, who are the speakers?

   10   A     My compadre and Cholo.

   11   Q     And going to the next subset, 601L-2, who did you hear on

   12   those calls?

   13   A     To my compadre and to a staff person for the AFI.

   14   Q     How many calls did you listen to?

   15   A     Two calls.

   16   Q     For the next subset, Government Exhibit 6019L-3, you have

   17   an A and a B listed here.

   18                What does that signify?

   19   A     Two calls.

   20   Q     Who did you hear in the first call?

   21   A     To my compadre and Guano.

   22   Q     Is that what you marked with a B?

   23   A     Yes.

   24   Q     And who did you hear on Call A?

   25   A     Guano and an unknown person.



                                 LAM       OCR      RPR
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                            Lopez Nunez - direct - Liskamm                  5956


    1   Q     And on Government Exhibit 601L-4, were you able to

    2   recognize any of the voices on that call?

    3   A     No, they were unknown to me.

    4   Q     Moving on to Government Exhibit 601L-5, who did you hear

    5   on those calls?

    6   A     My compadre and Mario, M-10.

    7   Q     And there were four calls?

    8   A     Yes.

    9   Q     Going on to 601L-6, who did you hear on that call?

   10   A     My compadre and Galacion.

   11   Q     And who is that?

   12   A     Galacion is a person from Cosala.

   13   Q     Did they go by any other name?

   14   A     Galacion, I don't remember.        Gala, Galacion.

   15   Q     Going on to Government Exhibit 601L-7, whose voices did

   16   you hear on those calls?

   17   A     My compadre and Juancho.

   18   Q     And how many calls did you listen to where you heard the

   19   Defendant and Juancho's voices?

   20   A     Fifteen calls.

   21   Q     Okay.    Now, we're not going to play all 15 of those

   22   calls.   We're going to play just a couple of clips from them,

   23   and I'll ask you a few follow-up questions.

   24                 MS. LISKAMM:   We're going to start with Government

   25   Exhibit 601L-7A, which is already in evidence.          We'll be



                                 LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                   5957


    1   playing the beginning of the call to a minute 21.

    2               (Audio plays; audio stops.)

    3   Q     Now Mr. Lopez, on the screen there was a transcript

    4   playing in front of you.

    5               When you saw the initials "JGL," who was speaking?

    6               THE INTERPRETER:     I'm sorry, I don't see it now.

    7               MS. LISKAMM:    Do you want me to repeat the question?

    8               THE INTERPRETER:     No, it's okay.

    9   A     My compadre.

   10   Q     When it said "Virgo," who was speaking?

   11   A     Juancho.

   12   Q     There is a discussion of someone who they refer to as "La

   13   Mesera."

   14               Who is that?

   15   A     Vicente.

   16   Q     Vicente who?

   17   A     Zambada.

   18   Q     There's a reference to someone named "Yayo."

   19               Who is that?

   20   A     Yayo was a person who used to work with Vicente Zambada.

   21   Q     And the reference to "La Senora" that the Defendant

   22   wanted to speak with, who is that person?

   23   A     Mr. Mayo.

   24   Q     Generally, what's being discussed in this clip?

   25   A     A person who was picked up because he was passing on



                                 LAM       OCR      RPR
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                            Lopez Nunez - direct - Liskamm                  5958


    1   information about my compadre, about Mayo, and about myself.

    2   Q     Okay.    And who was that person?

    3   A     Omar.

    4   Q     Who is Omar?

    5   A     Omar worked with me.      He helped doing errands.

    6   Q     What happened to Omar?

    7   A     He was picked up and he was interrogated, and the

    8   government was passing on to us accurate information that he

    9   was passing around information about us.          He was killed.

   10   Q     Now turning to Government Exhibit 601L-7B, which is

   11   already in evidence.

   12                 MS. LISKAMM:   For the record, we're going to play a

   13   clip from the beginning of the call to 1 minute 48 seconds,

   14   and the transcript will be on the screens in front of you

   15   again.

   16                 (Audio plays; audio stops.)

   17   Q     Mr. Lopez, what are they discussing here?

   18   A     About Omar, that there was an intelligence officer from

   19   the military, Burrito Mendola.       He was the one who was passing

   20   on the information about Omar.       But besides Omar, there was

   21   another person who was involved as well.

   22   Q     What does that mean?

   23   A     That it wasn't only Omar who was passing on information

   24   but that together with the other person who was also passing

   25   on information.



                                 LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                   5959


    1   Q     You said before that Omar was killed.

    2                Did you ever talk to the Defendant about what

    3   happened to Omar?

    4   A     Yes.   Omar was killed.

    5   Q     Who ordered Omar to be killed?

    6   A     I talked about it with my compadre, and my compadre

    7   authorized for that person to be killed.

    8   Q     Did you relay that order for Omar to be killed?

    9   A     Yes, yes.

   10   Q     Now, in the clip that we just played, there was a

   11   reference to a Javier.

   12                Who is that?

   13   A     I would like to see it again.

   14   Q     All right.    We'll move on.

   15                There was a reference to Felizardo in the clip.         Who

   16   is that?

   17   A     Me.

   18   Q     When you were communicating with the Defendant, what

   19   names did you refer to him by?

   20                MR. BALAREZO:      Objection, asked and answered

   21   yesterday.

   22                THE COURT:   I think so.

   23   Q     There was a reference to Vicente being gone on the call.

   24                What was that a reference to?

   25   A     That Vicente had been arrested already.



                                  LAM       OCR     RPR
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                            Lopez Nunez - direct - Liskamm                  5960


    1   Q     There was also reference to Tubo.

    2               What is that?

    3   A     Tubo was the way we referred to El Dorado, the town.

    4               MS. LISKAMM:    We're going to move ahead to

    5   Government Exhibit 601L-7D.       It's already in evidence.      We're

    6   going to play a clip from 204 to 323.

    7               (Audio plays; audio stops.)

    8               MS. LISKAMM:    I apologize.    I think we're playing

    9   the wrong clip, and that's my fault.        We skipped ahead.

   10               We'll skip ahead to 601L-7D, 601L-7D, D as in dog.

   11   Same timestamps.     Thank you.

   12               (Audio plays; audio stops.)

   13   Q     What's being discussed here?

   14   A     They're talking about Polo.

   15   Q     Polo who?

   16   A     Polo Ochoa.

   17               That Changel was upset at him because he had skipped

   18   him over, meaning that without keeping Changel in mind, he was

   19   using some shippers that were friends of Changel's.           And

   20   Mr. Mayo wanted to defend Polo Ochoa.

   21   Q     Who was upset with Polo Ochoa?

   22   A     Changel.

   23   Q     And there was a reference in there to 100 kilos.

   24               What was that a reference to?

   25   A     Cocaine, surely.



                                 LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                   5961


    1   Q     Is this the same Polo that we discussed yesterday?

    2   A     Yes.

    3                MS. LISKAMM:   Now we're going to play a short clip

    4   from the same exhibit, from 526 to 547.

    5                (Audio plays; audio stops.)

    6   Q     What are they discussing here?

    7   A     That the crossing over of the drugs into the United

    8   States was really tough and that's why they were actually

    9   selling them at the border.       And Juancho was saying he barely

   10   gets enough in order to reinvest.

   11                MS. LISKAMM:   We're going to play one last clip of

   12   this call, from 758 to 944.

   13   Q     Actually, while that's getting set up, one more follow-up

   14   question for you, Mr. Lopez.       You mentioned before on the

   15   previous call that there was somebody named Changel.

   16                Who is that?

   17   A     Changel was Nacho Coronel's nephew.

   18   Q     What, if anything, did he do for the cartel?

   19   A     Well, he was under the orders of Nacho Coronel.          And once

   20   he died, he was then in charge of the plaza in Guadalajara

   21   where they had their commitments.

   22                MS. LISKAMM:   So, now we're going to play that clip

   23   from 758.

   24                (Audio plays; audio stops.)

   25   Q     What are they discussing here?



                                 LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                   5962


    1   A     Juancho was saying that he had personally talked to

    2   Marisquero, who is Cesar Gastellum, and Cesar had told him he

    3   had been helping my compadre along.        They spoke about the fact

    4   that Changel was still very upset at Polo, Polo Ochoa, and

    5   Changel wanted to kill Polo Ochoa because he had skipped him

    6   over in regards to the transportation.

    7               And Juancho said that he had talked to Cesar

    8   Marisquero about the fact that he had asked Pedrito Loiaza to

    9   square things out in Belize when Juancho had already given

   10   money to Pedrito Loiaza to do that.

   11   Q     You said that Cesar had been helping the Defendant a lot.

   12               What does that mean?

   13   A     Well, that's what the conversation said, that Cesar was

   14   the one helping my compadre and Mayo crossing over some kilos

   15   of cocaine.

   16   Q     And there's a reference to containers.

   17               What does that mean?

   18   A     Those are chemical precursors used to manufacture

   19   synthetic drugs, crystal.

   20   Q     And where were those coming into?

   21   A     As far as I understand, they would receive them in

   22   Honduras with the intention of bringing them here to Sinaloa.

   23               MS. LISKAMM:    Last clip, we're going to play from

   24   Government Exhibit 601L-7E, which is already in evidence, from

   25   the beginning to 1 minute 20 seconds.



                                 LAM       OCR      RPR
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                           Lopez Nunez - direct - Liskamm                    5963


    1               (Audio plays; audio stops.)

    2   Q     And what are they discussing here?

    3   A     Well, they were talking about equipment.         My compadre

    4   tells Juancho that the Government friends were saying that the

    5   military already had acquired equipment, that by just having

    6   the PIN of the BlackBerry they can locate the phone.           And that

    7   is why we had to be very selective in regards to who the

    8   people would be as contacts, meaning that only people who were

    9   really trustworthy that we would then have them direct

   10   communication.

   11

   12               (Continued on the following page.)

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                               Lopez - cross - Balarezo                     5964


    1   BY MS. LISKAMM:     (Continuing.)

    2   Q     In the call there's a reference to the term Zapatones.

    3   What is that?

    4   A     Military people.

    5   Q     Okay.    There's also a reference to the word "black."

    6   What does that mean?

    7   A     BlackBerry.

    8   Q     There's also a reference to someone named Alfredo

    9   Salazar.    Who is that?

   10   A     Alfredo Salazar was the person who had the Plaza under

   11   his control in Sonora.

   12   Q     And what country does Sonora border?

   13   A     The United States.

   14   Q     Okay.

   15                 MS. LISKAMM:    I have no further questions.     I wanted

   16   to put on the record the second clip I played from Government

   17   Exhibit 609-M we played from 1 minute 14 seconds to 1 minute

   18   and 43 seconds.

   19                 THE COURT:   Okay, cross-examination.

   20                 MR. BALAREZO:       Thank you, Your Honor.

   21   CROSS-EXAMINATION

   22   BY MR. BALAREZO:

   23   Q     Good morning Mr. Lopez.

   24   A     Good morning, Counsel.

   25   Q     Mr. Lopez, to start, yesterday when you came you came



                                     SN       OCR     RPR
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                               Lopez - cross - Balarezo                     5965


    1   into the courtroom for the very first time.         Do you remember

    2   that?

    3   A       Yes, sir.

    4   Q       You -- the jury was not in the room yet, right?

    5                MS. LISKAMM:    Objection.

    6                THE COURT:   Well, let's have a sidebar.

    7                MR. BALAREZO:       I'll withdraw the question, Your

    8   Honor.

    9   BY MR. BALAREZO:

   10   Q       When you first stood where you are right now, do you

   11   remember?

   12   A       I stood up on several occasions.

   13   Q       The very first time you came into the courtroom

   14   yesterday.    You stood right there and you looked at

   15   Mr. Guzman.    Do you remember that?

   16                MS. LISKAMM:    Your Honor, could we have a sidebar?

   17                THE COURT:   Right.     Let's have a sidebar

   18                (Sidebar held outside of the hearing of the jury.)

   19                (Continued on next page.)

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                                            Sidebar                          5966


    1                (The following sidebar took place outside the

    2   hearing of the jury.)

    3                THE COURT:   What did he do?

    4                MR. BALAREZO:       He gave him the little high sign.

    5                THE COURT:   He gave him what?

    6                MR. BALAREZO:       He gave him a little high sign and I

    7   wanted to know what it meant.

    8                MS. LISKAMM:    It wasn't on the record or in front of

    9   the jury, Your Honor.

   10                THE COURT:   He has a good-faith basis to ask that.

   11   He saw it.

   12                MS. LISKAMM:    I did not see it.

   13                THE COURT:   I did not either, but I don't think

   14   Mr. Balarezo would make it up so I'm going to let him ask the

   15   question.

   16                (Sidebar ends.)

   17                (Continued on next page.)

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                               Lopez - cross - Balarezo                     5967


    1   BY MR. BALAREZO:     (Continuing.)

    2   Q     When you first came in you looked at Mr. Guzman and you

    3   went like this (indicating).       Do you remember that?

    4   A     Yes, sir.

    5   Q     What did you mean by that?

    6   A     Because I love him.

    7   Q     What do you mean you love him?

    8   A     Well, he's a person -- he's a person with whom I have

    9   actually spent many years together and I have a special

   10   affection for him.

   11   Q     And he's a friend of yours?

   12   A     Yes.

   13   Q     At least according to you.

   14   A     Yes.

   15   Q     I mean, you even baptized one of his daughters; right?

   16   A     Yes.

   17   Q     Which is why -- well, that's a Catholic thing, the

   18   baptism; right?

   19   A     Yes.

   20   Q     I mean, you're his compadre?

   21   A     Yes, sir.

   22   Q     And that means you're a co-father to one of his

   23   daughters?

   24   A     I am a godfather to one of his daughters.

   25   Q     What does it mean to be a godfather to one of his



                                  SN      OCR      RPR
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                               Lopez - cross - Balarezo                     5968


    1   daughters?

    2   A     That I was her godfather at her baptism.

    3   Q     It's more than that, because if something happened to him

    4   you would be basically like a father to her; right?

    5   A     I don't know.

    6   Q     You don't know what that meant?       You just went through

    7   the motions?

    8   A     Well, each person has their own life and each person --

    9   and each person lives in their own place, but of course if

   10   they needed my help I would gladly help.

   11   Q     In almost every answer you gave in direct examination you

   12   called him mi compadre; right?

   13   A     That's right.

   14   Q     You didn't call him Chapo or you didn't call him Rapido,

   15   you didn't call him apa.       You called him mi compadre; every

   16   single answer, mi compadre?

   17   A     That's right.

   18   Q     And this man that you love so much because you spent so

   19   much time with him, this man whose daughter you baptized,

   20   you're testifying against him; right?

   21   A     Yes.   The circumstances have placed me in this spot.

   22   Q     Because when it comes down to it between him and you,

   23   it's going to be you; right?

   24   A     I did not understand that.

   25   Q     Well, it's your freedom or his and you chose your



                                  SN      OCR      RPR
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                               Lopez - cross - Balarezo                     5969


    1   freedom; right?

    2   A     No.    I chose to think about my family because they have

    3   been pretty much left adrift.

    4   Q     Based on decisions that you have made; not decisions made

    5   by Chapo; correct?

    6   A     I'm here because his sons pretty much placed me here.

    7   Q     Chapo's son?

    8   A     Yes, sir.

    9   Q     The day he sent your son, El Mini Lic, to himself in at

   10   the border?

   11   A     Yes.    They sought him out to kill him.

   12   Q     And where is Mini Lic now?

   13   A     In the United States.

   14   Q     He's alive and cooperating with the Government; right?

   15   A     The important thing is that he's alive.

   16   Q     And did Chapo make you sign on the dotted line to have a

   17   deal with the Government to cooperate?

   18   A     I didn't really understand that.

   19   Q     Right.   You're here because of the things that you have

   20   done and nobody else, right?

   21   A     For the things that I did together with my compadre.

   22   Q     All right.    You've testified for almost a day; correct?

   23   A     Yes, sir.

   24   Q     And I don't know if it's clear to anybody in the

   25   courtroom what exactly you've done because all you've done is



                                  SN      OCR      RPR
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                               Lopez - cross - Balarezo                     5970


    1   talked about him.

    2                 MS. LISKAMM:    Objection.

    3                 THE COURT:   Sustained as to form.

    4   Q     Were you a choir boy?

    5                 MS. LISKAMM:    Objection.

    6                 THE COURT:   Sustained.

    7   BY MR. BALAREZO:

    8   Q     Well, have you committed any crimes?        You?

    9   A     Yes.

   10   Q     Okay.    And you've done -- you've been involved in

   11   murders; right?

   12   A     Yes, sir.

   13   Q     You've trafficked a large quantity of drugs; correct?

   14   A     Yes, sir.

   15   Q     And you did a lot of horrible things that brought you to

   16   this courtroom yesterday and today?

   17   A     I've done bad things.

   18   Q     And a lot of those bad things had nothing to do with

   19   Chapo; right?

   20   A     Well, in everything my compadre was my boss.

   21   Q     Patron, so you were nothing but an employee a worker for

   22   Chapo.   That's what you're telling the jury here today as

   23   you're sitting here under oath?

   24   A     I worked for my compadre.

   25   Q     And that's your story and you're sticking with it; right?



                                     SN    OCR     RPR
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                               Lopez - cross - Balarezo                     5971


    1   A     No.

    2   Q     Are you going to change it later?

    3   A     No.   I've never changed it and I never will.

    4   Q     Right.   Now, you said yesterday that one of the -- your

    5   only obligation under a plea agreement that we'll talk about

    6   later was to tell the truth; is that right?

    7   A     Yes, sir, that's right.

    8   Q     And of course that's what you told this group of people

    9   here today and yesterday?

   10   A     As many times as is needed I will keep saying it.

   11   Q     Right, because you're just a lowly employee of Chapo

   12   Guzman and the truth shall set you free; correct?

   13               MS. LISKAMM:    Objection.

   14   Q     You were an employee of Chapo Guzman; correct?

   15               MS. LISKAMM:    Objection, asked and answered.

   16               THE COURT:    Sustained.

   17   BY MR. BALAREZO:

   18   Q     How long were you an employee of Chapo Guzman?

   19   A     I started to work for my compadre in 2010.

   20   Q     I'm going to move on for -- you're represented by

   21   counsel, aren't you?

   22   A     Yes, sir.

   23   Q     An attorney from Washington, D.C.?

   24   A     I believe that he's from Washington, yes.

   25   Q     I mean, you've met him, you've talked about it; right?



                                   SN     OCR      RPR
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                               Lopez - cross - Balarezo                     5972


    1   A     Yes, sir.

    2   Q     And one of the reasons you hired that attorney is because

    3   that attorney is well-known for handling cooperators like

    4   yourself, right?

    5               MS. LISKAMM:    Objection.

    6               THE COURT:    Sustained.

    7   BY MR. BALAREZO:

    8   Q     Well, are you cooperating?

    9   A     I am complying with an agreement, sir.

   10   Q     Sir, isn't it correct that this attorney who obtained

   11   this plea agreement for you has spoken with you -- don't tell

   12   me what he said, but he has spoken with you quite often;

   13   right?

   14   A     I have seen him on several occasions.

   15   Q     And on several occasions that attorney has provided you

   16   information on other cases; isn't that right?

   17               MS. LISKAMM:    Objection.

   18               THE COURT:    It's vague.

   19   BY MR. BALAREZO:

   20   Q     On some occasions that attorney that you hired that

   21   obtained this plea agreement for you has given you information

   22   on Chapo Guzman, what's going on with Chapo's case; correct?

   23   A     No, sir.

   24   Q     You've never talked to your lawyer about Chapo, is that

   25   what you're saying?



                                   SN     OCR      RPR
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                               Lopez - cross - Balarezo                     5973


    1               MS. LISKAMM:    Objection.

    2               THE COURT:    Sustained.

    3   BY MR. BALAREZO:

    4   Q     Now, Mr. Lopez, yesterday you testified that you are --

    5   that you went to three years of university and studied law; is

    6   that right?

    7   A     That's correct.

    8   Q     And so you weren't from a super poor family or a poor

    9   family at all.     You got to go to university and study

   10   somewhat; correct?

   11   A     Yes, sir.

   12   Q     And through those studies and then your experiences as an

   13   official at the prisons, you know -- you know something, at

   14   least a little bit, about how the law works in Mexico;

   15   correct?

   16   A     I know a bit as you're saying.

   17   Q     For example, you know that in Mexico there are these

   18   things called police departments; right?

   19   A     It's police.

   20   Q     There's municipal police?

   21   A     Yes, sir.

   22   Q     Judicial police?

   23   A     Ministry police.

   24   Q     State police?

   25   A     Correct.



                                   SN     OCR      RPR
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                               Lopez - cross - Balarezo                      5974


    1   Q     Federal police?

    2   A     Yes, sir.

    3   Q     There's even these elite marine forces?

    4   A     Yes, sir.

    5   Q     And obviously through your time in Mexico you know that

    6   in Mexico sometimes murders are committed; right?

    7   A     Yes, sir.

    8   Q     And I'm not talking about the ones that you may have been

    9   involved in or the ones that you said Chapo did.          I'm just

   10   saying murders in general.

   11   A     The newspaper reports on many homicides daily.

   12   Q     And when there's a homicide, say, in Culiacan the police

   13   probably respond to the murder scene; right?

   14   A     That's the procedure.

   15   Q     Right.   And the reason the police arrive at these scenes

   16   are because they want to, number one, find out what happened;

   17   correct --

   18                MS. LISKAMM:    Objection.

   19   Q     -- in your experience?

   20                THE COURT:   I'll allow it.

   21   A     I suppose so.

   22   Q     And they may want to collect evidence of a murder; right?

   23   A     Most police go and protect the area while the agent for

   24   the Public Ministry comes and does its actions.

   25   Q     So the agent from the Public Ministry does the actions;



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                               Lopez - cross - Balarezo                     5975


    1   will draw the little chalk body, collect bullets, talk to

    2   witnesses maybe?

    3               MS. LISKAMM:    Same objection, Your Honor.

    4               THE COURT:    Sustained.

    5   BY MR. BALAREZO:

    6   Q     Do you think it would be a good idea for Mexican police

    7   or the Ministry to take pictures of the bodies on the street?

    8               MS. LISKAMM:    Objection.

    9               THE COURT:    Sustained.

   10   Q     Let's get right to it.      Yesterday you talked about

   11   several -- several murders that you pinned on Chapo.           Do you

   12   remember those?

   13   A     I didn't pin them on him.      I just narrated the facts just

   14   the way they happened.

   15   Q     Right.   Well, yesterday you talked about a guy named

   16   Guacho.    Do you know Guacho?

   17   A     Yes, sir.

   18   Q     And Guacho, I believe, was the gentleman with the black

   19   eye in the video?

   20   A     Exactly, that's him.

   21   Q     And the part of the video where he was actually being

   22   interrogated was not Chapo Guzman talking; right?

   23   A     You are right.

   24   Q     Right, but you did testify that prior to that particular

   25   part of the video which isn't recorded Chapo was interrogating



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                               Lopez - cross - Balarezo                     5976


    1   Guacho; correct?

    2   A     Yes, sir, I saw him.

    3   Q     So this jury has your word that you saw Chapo

    4   interrogating Guacho, right?       We don't have a video of that;

    5   right?

    6   A     Yes, sir.

    7   Q     We do have a video or we don't have a video?

    8   A     I'm not in charge of the videos.

    9   Q     All I asked you was a simple question.        Was there a video

   10   or was there not a video of Chapo interrogating Guacho, yes or

   11   no?

   12   A     No one has shown me such a video.

   13   Q     Including the Government; right?

   14   A     No one has shown me such a video.

   15   Q     Now so when you told the jury that after that

   16   interrogation and beating that this man Chapo Guzman gave the

   17   order to kill Guacho -- that's what you said, right?

   18   A     Yes, sir, that's correct.

   19   Q     Did you see the body, the dead body of Guacho?

   20   A     No, I didn't see him.

   21   Q     Did anytime -- in all the meetings that you had with the

   22   Government, did the Government present you a photo of the dead

   23   body of Guacho lying wherever he was lying?

   24   A     No.

   25   Q     Did they ever show you a death certificate?



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                               Lopez - cross - Balarezo                       5977


    1   A     No.

    2   Q     They have those in Mexico; right?

    3   A     They should have it.

    4   Q     When somebody dies, the Government wants a record of

    5   who's dead; right?

    6   A     They are legal documents.

    7   Q     Did you see an autopsy report?

    8   A     No, that did not depend on me.

    9   Q     I'm not trying to trick you.       I said, did you see,

   10   meaning did the Government show you an autopsy of Guacho?

   11   A     No, sir.

   12   Q     And you also mentioned another guy Barbarino.          Do you

   13   remember his name?

   14   A     Yes, of course.     I don't remember his name, but

   15   Barbarino.

   16   Q     I might have missed something but did Chapo order that

   17   murder too?

   18   A     It was Mayo who wanted to have the approval of my

   19   compadre.    My compadre just said to do what you want.

   20   Q     Did you see Barbarino get killed?

   21   A     No.    I wasn't a witness on the spot of the facts.

   22   Q     Did you see his dead body lying on the side of the road

   23   or wherever they dumped him?

   24   A     No.    It was reported to me on the radio that Barbarino

   25   had been killed and that Mayo told me that he had killed him.



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                               Lopez - cross - Balarezo                     5978


    1   Q     So just like Guacho you have no -- you've seen no

    2   particular evidence that can be shown to the jury that

    3   Barbarino actually died or was shot or however; right?

    4   A     No.

    5   Q     And I think you also mentioned Negro?

    6   A     You are right.

    7   Q     I'm right about what?

    8   A     That Negro was discussed as well.

    9   Q     And was Negro killed as well?

   10   A     Yes, sir.

   11   Q     On whose orders?

   12   A     My compadre -- Mayo did the murder and my compadre

   13   organized it for him.

   14   Q     We have a third murder in which Chapo is involved

   15   somehow, but yet we have no body; is that right?

   16   A     I believe that the corpse was in the news.

   17   Q     Wrapped up, you mean or, like, published in the papers?

   18   A     Published.

   19   Q     Did you tell these people that the body was in the

   20   newspapers?

   21   A     No, I don't remember having mentioned that.

   22   Q     So, again, third dead person with no real proof that they

   23   were even killed; right?

   24   A     I never saw proof as you're saying.

   25               (Continued on the following page.)



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                             Lopez Nunez - cross - Balarezo                 5979


    1   BY MR. BALAREZO:      (Continuing)

    2   Q     Right.   Because all you're saying is you heard on the

    3   radio somebody said this and that and the next thing, you're

    4   testifying under oath that this man gave you the order to

    5   kill, is that right?

    6   A     Yes, sir.

    7   Q     So your word is what the jury should rely on?

    8   A     No, I'm only telling the truth.

    9   Q     Right.   Let's talk about that truth.

   10               Yesterday, you talked about a guy named Polo Ochoa.

   11   Do you remember that name?

   12   A     I do remember, yes.

   13   Q     And I believe if my memory serves me right that that's

   14   another murder that you put on Chapo, right?

   15   A     I didn't put it on him.        I just narrated the facts as

   16   they happened.

   17   Q     You were just there and you heard everything and you're

   18   here to tell us, is that accurate?

   19   A     I was in Culiacan when those things happened.

   20   Q     And what you said, if I'm correct, was that Chapo found

   21   out that Cesar Gastelum and Polo Ochoa had some contacts with

   22   the U.S. Government or the government, is that right?

   23   A     Exactly.

   24   Q     And the reason that Chapo ordered that murder according

   25   to you was he felt betrayed by Polo Ochoa?



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                             Lopez Nunez - cross - Balarezo                 5980


    1   A     Yes, sir.

    2   Q     Now, you've met with the government, with these

    3   prosecutors and agents many, many times, is that right?

    4   A     On several occasions, you're right.

    5   Q     And isn't it true that -- well, strike that.

    6                During one of those meetings, you were asked about

    7   Paul Ochoa's murder, is that right?

    8   A     Yes.

    9   Q     And, in fact, you, do you recall telling the government

   10   that Polo, Polo Ochoa was killed in Culiacan?          Do you remember

   11   telling them that?

   12   A     Yes.

   13   Q     And you also recalled telling the government that there

   14   was a rumor that Chapo's people called Polo Ochoa?

   15   A     Not a rumor exactly.      There was information as to that

   16   having happened.

   17   Q     And you recall also telling the government that you were

   18   not certain of the information that you were providing to the

   19   government?

   20                Do you remember that?     Yes or no.

   21   A     I have been clear of what I have given information on.

   22   Q     Do you recall, yes or no, telling the government that it

   23   was a rumor?

   24                Do you recall or do you not recall?       Do you recall

   25   or do you not recall?



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                             Lopez Nunez - cross - Balarezo                 5981


    1   A     I never said it was a rumor.

    2   Q     And what about did you recall telling the government that

    3   you were not certain of the information that you were

    4   providing?

    5   A     No, I was never uncertain.       My compadre informed me.      Why

    6   would I be uncertain?      Not informed me.      Told me.

    7                (Continued on next page.)

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                                           Sidebar                            5982


    1               MS. LISKAMM:       Your Honor, can we have a sidebar?

    2               THE COURT:     Yes.    Okay.

    3               (The following occurred at sidebar.)

    4               THE COURT:     Can I see the report?

    5               (Pause.)

    6               THE COURT:     Okay.   So what is your objection?

    7               MS. LISKAMM:       The objection is that he said that he

    8   didn't say it.       This is not -- this is improper refreshing

    9   recollection.

   10               MR. BALAREZO:      No, it's impeachment.

   11               THE COURT:     It's not his statement.

   12               MS. LISKAMM:       This is not his statement.

   13               Your Honor was very clear at the beginning of the

   14   trial on that.

   15               THE COURT:     That is the proper evidentiary rule so

   16   no, you can't use it.      If he said, "No, I don't remember," you

   17   can refresh him but he was very clear, "I did not say that."

   18               MR. BALAREZO:      Well prepped.       Thank you.   Thank you.

   19               (End of sidebar conference.)

   20               (Continued on next page.)

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                             Lopez Nunez - cross - Balarezo                    5983


    1   BY MR. BALAREZO:

    2   Q     Mr. Lopez, with respect to any of these other murders

    3   that you have testified that Mr. Guzman was involved in,

    4   again, no physical evidence of the murder, correct?

    5               MS. LISKAMM:       Objection.

    6               THE COURT:    Is there an objection?

    7               MS. LISKAMM:       Yes, Your Honor.

    8               THE COURT:    Sustained.

    9   Q     With respect to any of the other murders that you have

   10   talked about that Mr. Guzman supposedly ordered or

   11   committed --

   12               MR. BALAREZO:      That break is for you to translate.

   13   Q     -- have any of these people shown you any pictures of any

   14   of those victims?

   15   A     No.

   16   Q     And I don't want to repeat it but autopsy?           Anything?

   17               Nothing, right?

   18   A     I did say no.

   19   Q     So, yesterday, you testified that, that at some point,

   20   you were a, an official at the Puente Grande prison, right?

   21   A     Yes, sir.

   22   Q     And what exactly was your position there?         I kind of

   23   missed that.

   24   A     The deputy director of security and custody.

   25   Q     And what exactly was your responsibility?



                       CMH       OCR       RMR      CRR     FCRR
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                             Lopez Nunez - cross - Balarezo                 5984


    1   A     Of the internal security within the prison.

    2   Q     Did that include the custody of the inmates?

    3   A     Yes, sir.

    4   Q     And how long were you at Puente Grande in that capacity

    5   before you met your compadre?

    6   A     Well, when I got to that prison, my compadre was already

    7   there.

    8   Q     And how long was it after you got to the prison that you

    9   had any contact with compadre?

   10   A     I don't know, maybe a month, maybe less.

   11   Q     So is it accurate to say that when you took that job at

   12   the prison, you had to take some kind of an oath?

   13   A     No.   No.   There's no oath there.

   14   Q     You didn't have to promise to uphold the law of the

   15   United States of Mexico?

   16   A     When you start a job within the government, that is not

   17   something that's stipulated.        The system is different from the

   18   one here.

   19   Q     Is that why it's so corrupt?

   20               MS. LISKAMM:       Objection.

   21               THE COURT:    Sustained.

   22   Q     Well, you had a job to do and your job involved taking

   23   security of inmates and the security of the prison, right?

   24   A     The internal security of the prison.

   25   Q     And isn't it correct that Puente Grande was or is --



                       CMH       OCR       RMR      CRR     FCRR
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                             Lopez Nunez - cross - Balarezo                 5985


    1   strike that -- at the time was a high security prison?

    2   A     Currently, it is.

    3   Q     What was it back then, low security?

    4   A     Well, currently, it is a maximum security prison.          It's

    5   always been.

    6   Q     So the record is clear, at the time that you worked

    7   there, was it a high security prison?        Yes or no.

    8   A     Yes, sir.

    9   Q     Meaning that's the highest level of security in a Mexican

   10   prison, right?

   11   A     Yes, it was maximum security.

   12   Q     They had perimeter walls, high walls, barbed wire?

   13   A     The construction was maximum security.

   14   Q     I get that but I'm asking some specific questions.          Was

   15   there like a wall around the whole thing?

   16   A     There's one in every single jail.

   17   Q     Including Puente Grande?

   18   A     Yes, sir.

   19   Q     And there are towers with guards at the top?

   20   A     Yes, there are, but that was, that was not within my own

   21   responsibilities.      That was something that was handled by the

   22   deputy director from the external section.

   23   Q     I'm not asking about your duties.          I'm asking the prison

   24   in general.    I'm not trying to trick you.

   25   A     Don't worry.     I do understand.



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                             Lopez Nunez - cross - Balarezo                 5986


    1   Q     Okay.    So were there towers with guards?

    2   A     When I would get to the prison, I would see that there

    3   were towers.

    4   Q     And is it accurate to say that those guards were probably

    5   armed?

    6   A     Yes, they were armed.

    7   Q     And inside the facility, where you were in charge, there

    8   were guards also, correct?

    9   A     Yes, sir.

   10   Q     There was a lot of doors that you would have to go

   11   through in order to walk out without permission, let's say?

   12   A     You are right.

   13   Q     And even they had some mean dogs walking around, right?

   14   A     Not in that place.

   15   Q     No dogs at Puente Grande?

   16   A     No, not within, inside the prison.

   17   Q     Now, at some point though after you met Chapo, you said

   18   that he had asked for your help for visits, is that correct?

   19   A     Yes, sir.

   20   Q     And those were all visits with his ex-wives, Griselda and

   21   Alejandrina?

   22   A     Just with Griselda.

   23   Q     And what he wanted to do was to get one in without

   24   upsetting the other, was that accurate?

   25   A     That I do not know of.



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                             Lopez Nunez - cross - Balarezo                 5987


    1   Q     Well, what was it that you said about the wife?

    2   A     That he wanted Mrs. Griselda to come in.

    3   Q     And why did he have to go to you to get that?

    4   A     Because if the interdisciplinary technical council of the

    5   precinct had to approve it, my compadre would then have to

    6   remove Ms. Alejandrina off of the list so he can add

    7   Ms. Griselda.

    8   Q     So he would have to drop one wife in order to let the

    9   other one in, is that it?

   10   A     That was the legal paperwork that was required, yes.

   11   Q     Did that happen?

   12   A     No.

   13   Q     You made it so that both wives could visit him, right?

   14   A     Well, no.      I just only helped so that Mrs. Griselda can

   15   go in.   When I got to work to that prison, my compadre was

   16   already being visited by Mrs. Alejandrina.

   17   Q     Was there anything wrong with that then?         I mean, what's

   18   the big deal?

   19   A     I really don't understand your question.

   20   Q     Is what you did against the rules?

   21   A     Absolutely.

   22   Q     And you agreed to do it, right?

   23   A     That's right.

   24   Q     And Chapo never threatened you, did he?

   25   A     He never, he never threatened me, you are right.



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                             Lopez Nunez - cross - Balarezo                 5988


    1   Q     So you decided, what, you're just going to sell out your

    2   office, your position, to get this man's wife in?

    3   A     No, I didn't sell out, you know, an office or a position.

    4   I just decided to help do a favor for my compadre.

    5   Q     And there was another incident you said that he asked for

    6   your help in bringing in a phone so he can check e-mails, is

    7   that correct?

    8   A     For a phone to come in, yes.

    9   Q     And yesterday, you said so he can check his e-mails?

   10   A     That's not how I said it.

   11   Q     Well, how did you say it yesterday?

   12   A     I said that my compadre could use that phone to check

   13   e-mails.    He never told me that he had done it.

   14   Q     What year was that?

   15   A     That was in 2000, either '99 or 2000.

   16   Q     So what you're telling the jury is that Chapo had a

   17   smartphone before they even came out?

   18   A     I don't know when they came out.       I'm only telling you

   19   what my compadre said.

   20   Q     And your recollection of that conversation is accurate

   21   and it's the truth, right?

   22   A     It's just what I remember.       It is the, my truth of what I

   23   remember.

   24   Q     And given that those are just two small examples of the

   25   favors, let's say, you did for your compadre, you did other



                       CMH       OCR     RMR       CRR      FCRR
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                             Lopez Nunez - cross - Balarezo                 5989


    1   things, right?

    2   A     Yes, sir.

    3   Q     I mean, you said you got $10,000 one time?

    4   A     He gave me $10,000 and he would also support me when I

    5   needed it.    He would also give me money.

    6   Q     And he also gave you a house worth a million and a half

    7   pesos?

    8   A     He gifted me a house and indeed that was the value of

    9   that house.    And it was because of my, of the attorney, not

   10   because of my decision, he sold it.

   11   Q     And so these were gifts, right?

   12   A     Yes, it was a gift.

   13   Q     Not bribes?

   14   A     It could be misinterpreted or it could be interpreted in

   15   such a way.

   16   Q     Well, what is that a misinterpret of an inmate paying an

   17   official at the prison money for favors?

   18   A     No, everything is clear.

   19   Q     So what's clear?     Tell me.

   20   A     That he gifted me the house.

   21   Q     Obviously, it was a bribe, right?          Just come out and say

   22   it, it was a bribe.

   23   A     Well, I accepted -- without me knowing about the house, I

   24   accepted helping my compadre and the house was a gift that

   25   came afterwards.



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                             Lopez Nunez - cross - Balarezo                 5990


    1   Q     Right.    And from your experience working there and just

    2   being Mexican, it's common for prison guards to be bribed,

    3   right?

    4   A     Unfortunately, customs in Mexico, corruption is part of

    5   it not only for guards but also for civilians as well.

    6   Q     But you only took the gifts.          I'm just trying to keep it

    7   all straight.

    8               MS. LISKAMM:       Objection.

    9               THE COURT:    Sustained.

   10   Q     Now, you know that when Chapo was at Puente Grande back

   11   in 1993 until 2001 -- well, strike that.

   12               That's a time that he was detained at Puente Grande,

   13   is that right, '93 to 2001?

   14   A     I got to work there in '99 and my compadre was already in

   15   jail there.

   16   Q     And you know why he was there, right?         Yes or no.

   17   A     No.

   18   Q     You didn't know that he was there for the murder of

   19   Cardinal Ocampo?

   20               MS. LISKAMM:       Objection.

   21               THE COURT:    Overruled.

   22   A     I know that my compadre was in jail and I know that my

   23   responsibility was to watch out for the jail.          All the legal

   24   issues, that was part of the court.

   25   Q     Not a legal issue.       I'm just asking.    You knew why he was



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                             Lopez Nunez - cross - Balarezo                 5991


    1   locked up for seven years in that prison?

    2               MS. LISKAMM:       Objection.   Asked and answered.

    3               THE COURT:    Sustained.

    4   Q     You never bothered to look at the records?

    5               MS. LISKAMM:       Objection.

    6               THE COURT:    You can probe a little bit.      Overruled.

    7   A     The legal aspect is handled very separately from

    8   security.

    9   Q     And all these things that you talked about with Chapo,

   10   you never asked him:      Hey, why were you locked up in the

   11   prison where I was the official of so and so?

   12   A     I might have talked to him about it but I don't remember.

   13               (Continued on next page.)

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                                                                            5992


    1   Q     And you do know though that he did not kill the Cardinal,

    2   right?

    3                MS. LISKAMM:       Objection.

    4                THE COURT:    Let's have a side bar, please.

    5                In fact, let's have lunch.

    6                MR. BALAREZO:      Even better.

    7                THE COURT:    We will take lunch, ladies and

    8   gentlemen.    Please come back at 1:40.        Do not discuss the case

    9   amongst yourselves.

   10                (Jury exits.)

   11                THE COURT:    All right.     Have a seat, please.

   12                The marshals can take the witness out.

   13                (Witness steps down and exits.)

   14                THE COURT:    Please correct me if I am wrong, but my

   15   understanding is no one is contending that the defendant

   16   conspired to kill the Cardinal, right?

   17                MS. LISKAMM:       That's correct, Your Honor.

   18                THE COURT:    The government does not say that.

   19                MS. LISKAMM:       Correct, Your Honor.

   20                THE COURT:    And the defense does not say that

   21   certainly.

   22                So what is the objection when he says to him he

   23   didn't kill the Cardinal?

   24                MS. LISKAMM:       Your Honor, I'll withdraw the

   25   objection.    I don't think that this is --



                       CMH        OCR       RMR      CRR       FCRR
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    1               THE COURT:    We took too early a lunch.

    2               MS. LISKAMM:       I apologize.    I didn't think the way

    3   the question was being phrased was accurate.          He said he

    4   didn't know why the defendant was in jail.          Quite honestly,

    5   that should be the end of it.

    6               THE COURT:    Okay, but the problem is the defense has

    7   a concern, I think, that despite the fact that the government

    8   is not trying to prove responsibility for the death of the

    9   Cardinal on this defendant, the facts are jumbled up enough

   10   and there was some initial blame at the time that the jury

   11   might get confused so they have been emphasizing with most of

   12   the witnesses, You know he didn't kill the Cardinal, even

   13   though that is an undisputed facts between the parties.

   14               (Continued on next page.)

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    1   (Continuing.)

    2               MS. LISKAMM:    Your Honor, I would just submit that

    3   the Government has not put forth any evidence that the

    4   Defendant was responsible for that murder.         If anything,

    5   that's come out through the defense case.          I don't really see

    6   the relevance with respect to this witness.

    7               THE COURT:    Okay.    It could go to his credibility

    8   about how much he professes to know, so that's why I'm

    9   allowing it on that.      And I'm allowing the question "he didn't

   10   kill the Cardinal" to make sure the jury doesn't get confused

   11   about that either.

   12               MS. LISKAMM:    Understood, your Honor.      I would just

   13   point out that the witness testified that he first came into

   14   contact with this defendant in 1989, well after the Cardinal's

   15   murder.

   16               THE COURT:    Right.   But there was some notoriety at

   17   that point, so it's possible that when this witness says, I

   18   don't know what he was there for, that's something that the

   19   Defendant can probe and see if that's an honest answer.

   20               MS. LISKAMM:    Understood, your Honor.      I just don't

   21   see the relevance but obviously defer to the Court.

   22               THE COURT:    See you at 1:30.

   23

   24               (Luncheon recess taken.)

   25



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                           Lopez Nunez - cross - Balarezo                   5995


    1                             AFTERNOON SESSION

    2                                  1:40 p.m.

    3               THE COURT:    Let's have the jury, please.

    4               (Jury enters.)

    5               THE COURT:    All right.     Everyone be seated.

    6               Mr. Balarezo, you may proceed.

    7   DAMASO LOPEZ NUNEZ,

    8         called as a witness, having been previously duly

    9         sworn, was examined and testified as follows:

   10   CROSS-EXAMINATION

   11   BY MR. BALAREZO:

   12   Q     Mr. Lopez, before we broke for lunch, we were talking

   13   about I had asked you if you knew why Chapo was in prison at

   14   Puente Grande; do you remember those questions?

   15   A     He was in jail when I arrived, yes, sir.

   16   Q     My question was, simply, do you remember the questions?

   17   A     Yes, I do.

   18   Q     So, before you went to work at Puente Grande, however,

   19   you had heard that Cardinal Ocampo had been murdered in

   20   Guadalajara, correct?

   21   A     Yes, it was public, in the news.

   22   Q     So, you were aware of the murder of the Cardinal in '93.

   23   A     Most Mexicans found out.

   24   Q     And as most Mexicans found out, you also probably saw

   25   Chapo Guzman's face all over the news, wanted for the murder



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                           Lopez Nunez - cross - Balarezo                   5996


    1   of the Cardinal, right?

    2   A     Yes, sir.

    3   Q     And lo and behold, when you arrive at Puente Grande,

    4   there's Chapo Guzman in prison, right?

    5   A     He was in jail there, yes, sir.

    6   Q     And given that you were a -- in charge of the internal

    7   security of the prison, you're telling this jury under oath

    8   that you had no idea why Chapo Guzman was locked up at Puente

    9   Grande at that time?

   10   A     Yes, exactly.

   11   Q     And you're also telling the jury although you had become

   12   very close to Mr. Guzman, you accepted multiple gifts from

   13   Mr. Guzman, you baptized one of his daughters, you never knew

   14   why he was in Puente Grande.       That's what you're telling this

   15   jury under oath today.

   16   A     Yes, I said under oath that my compadre had an

   17   extradition, so most certainly, he had an indictment from the

   18   United States.     And all the legal questions and all the

   19   indictments against my compadre, I had no access to that.

   20   Q     But at some point, Mr. Guzman decided that he didn't want

   21   to be your guest anymore and he left Puente Grande, right?

   22   A     I no longer worked there when he escaped.

   23   Q     Well, Puente Grande, as you said, was a high security

   24   prison, yes?

   25   A     Yes.



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                           Lopez Nunez - cross - Balarezo                   5997


    1   Q       Yesterday, you testified that Chapo later told you that

    2   the escape was a spontaneous thing, right?

    3   A       Yes, a decision that he had made because of the

    4   extradition.

    5   Q       Thank you for mentioning the extradition several times,

    6   but just answer my question.

    7                Yesterday, you testified that the decision that he

    8   made to escape from the jail was spontaneous.           You didn't say

    9   anything about the extradition, you didn't say anything about

   10   anything else.     You said spontaneous decision to escape.

   11                MS. LISKAMM:    Objection, mischaracterizes his

   12   testimony.

   13                THE COURT:   Sustained as to form.

   14                MR. BALAREZO:      Should I break it up?

   15                THE COURT:   It will be better.      I don't know if it

   16   will be right.

   17   Q       Let me break it down so you understand me.

   18                Yesterday, as you sat here under oath, you testified

   19   to these people right here that Chapo at some point after the

   20   escape mentioned to you that the escape was spontaneous; is

   21   that correct, yes or no?

   22   A       I don't recall exactly that I used the term

   23   "spontaneous."

   24   Q       To your knowledge, was the escape planned for a long

   25   time?



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                           Lopez Nunez - cross - Balarezo                   5998


    1   A     No.

    2   Q     There were no meetings with his sons, correct, to plan

    3   the escape?

    4   A     Not that I know of.

    5   Q     You don't know about any meetings with Alejandrina or

    6   Griselda at the time, do you?

    7   A     I don't know.

    8   Q     You don't know about buying any properties a mile away

    9   from the prison?

   10   A     Just to clarify, are you referring to Puente Grande

   11   prison?

   12   Q     Yes.

   13   A     Not that I know of.

   14   Q     You didn't hear anything about tunnels to get out of

   15   Puente Grande, right?

   16   A     No, sir.

   17   Q     You didn't hear anything about the little motorcycle in

   18   the tunnel and then people waiting with airplanes to get him

   19   out of there, did you?

   20   A     Puente Grande?     No, sir.

   21   Q     And that's what we're talking about.        What you said

   22   yesterday was that there was this guy Chito who just happened

   23   to be working in the laundry that day and you said that he

   24   happened to just carry Mr. Guzman out in a laundry cart,

   25   correct?



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                           Lopez Nunez - cross - Balarezo                   5999


    1   A     That's what my compadre told me and that's what I said.

    2   Q     That Chito pushed him out in the laundry cart from the

    3   prison, correct?

    4   A     Yes, sir.

    5   Q     Let me show you Defense Exhibit 492, demonstrative.

    6               (Exhibit published to the jury.)

    7               MS. LISKAMM:    Objection, your Honor.

    8               THE COURT:    Sustained, sustained.

    9               MR. BALAREZO:      It's a demonstrative.

   10               THE COURT:    What is it demonstrating?

   11               MR. BALAREZO:      I'm sorry?

   12               THE COURT:    The objection is sustained.

   13   Q     Chito was a jail employee.

   14   A     He was an employee of the jail and he belonged to general

   15   services division.

   16   Q     He was Mexican?

   17   A     Yes, he probably was.

   18               THE COURT:    Mr. Balarezo, you have to wait for the

   19   answer to finish.

   20               MR. BALAREZO:      I apologize.

   21   Q     What was your answer?      Sorry.

   22   A     He was certainly Mexican.

   23   Q     He had a mustache?

   24   A     No, I don't remember.

   25   Q     So, in this particular instance in 2001, all that it took



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                           Lopez Nunez - cross - Balarezo                   6000


    1   for Chapo to get out of Puente Grande Prison was to hop in a

    2   little laundry cart and get pushed out by Chito and he's free,

    3   right?

    4   A     That's what my compadre told me.

    5   Q     And that was, in part, because Chapo Guzman was such a

    6   powerful drug trafficker that he could say, Hey, Chito, put me

    7   in that cart and get me out of here, right?

    8               MS. LISKAMM:    Objection.

    9               THE COURT:    Sustained.

   10   Q     Chapo told you all about the escape, right?

   11   A     He told me about the escape.

   12   Q     He didn't tell you that he threatened Chito, did he?

   13   A     No.

   14   Q     He didn't tell you that he had paid Chito, right?

   15   A     No, no, I don't remember.

   16   Q     In fact, Chapo was so concerned because 40, 50 other jail

   17   guards had been arrested for the escape, right?

   18   A     Yes, sir.

   19   Q     Now, yesterday, you also testified that as part of your

   20   responsibilities, that all of the doors in the prison were

   21   controlled by your people, your guards, right?

   22   A     Yes, sir.

   23   Q     So, that means that if Damaso Lopez Nunez said, Hey,

   24   Guard No. 1, open the doors, they would open the doors,

   25   correct?



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                         Lopez Nunez - cross - Balarezo                   6001


  1   A     If I were to give the order, yes.

  2   Q     But, of course, you're telling this jury that you weren't

  3   even working at the prison at the time of the escape, right?

  4   A     And I'm not lying.       That is the truth.

  5   Q     I know, I know.

  6               But during all your meetings with the prosecutors,

  7   did you tell them that you had left the prison before the

  8   escape?

  9   A     Yes, sir.

 10   Q     Do you know if the Government prosecutors, agents,

 11   contacted their counterparts in Mexico and requested your

 12   employment records from the prison?

 13   A     I don't know.

 14   Q     And, of course, they didn't show them to you, right?

 15   A     I don't know that.

 16   Q     So, what you're telling the jury is that you have nothing

 17   to do with the escape but you could give the order and all the

 18   doors would be open; is that accurate?

 19               MS. LISKAMM:    Objection.

 20               THE COURT:    I'll allow an answer.

 21   A     We are not speaking about escape.        Opening a door could

 22   be for anything.

 23   Q     Let me say this:     When he went out in that little laundry

 24   cart, did he have to go through some gates, some doors?

 25   A     Yes, he certainly went through several doors.



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                         Lopez Nunez - cross - Balarezo                   6002


  1   Q     And these are the same doors that you could give the

  2   order to open, right?

  3               MS. LISKAMM:    Objection, asked and answered.

  4               THE COURT:    Sustained.

  5   Q     So, at some point yesterday, you also testified that you

  6   were having problems getting a job after the escape; is that

  7   right?

  8   A     That's correct.

  9   Q     And that's because the media in Mexico had connected you

 10   to the escape.

 11               That's what you said, yes?

 12   A     At first, I did not get a job.       And then later, yes,

 13   because of the media publishing the news, that did not help.

 14   Q     And the news that the media was publishing was that you

 15   helped Chapo escape, an official at the prison helped Chapo

 16   escape, yes?

 17   A     Yes, sir.

 18   Q     And the newspapers were saying it and it was all over the

 19   TVs that you were helping him escape or had helped him escape?

 20   A     That's what the media said.

 21   Q     And according to you, that's not true because you didn't

 22   help him.

 23   A     I did not.

 24   Q     So, all the media reports, on the TV, the newspapers, all

 25   these things were wrong, correct?



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  1   A     Yes, sir.    They are fake.

  2   Q     I hate to say it, like fake news, right?

  3   A     I did not take part.

  4   Q     But you do know from your experience in Mexico that the

  5   media sometimes is corrupt in Mexico also, correct?

  6   A     I don't know that.

  7   Q     In your whole career drug trafficking, you've never paid

  8   off some media to write a story that either hurts your rivals

  9   or helps you?

 10   A     No.

 11   Q     In any event, the newspapers and the media in Mexico got

 12   it wrong, right, about you?

 13               MS. LISKAMM:    Objection, asked and answered.

 14               THE COURT:    Sustained.

 15   Q     And you know that sometimes stories are published just to

 16   sell papers, correct?

 17   A     Yes, I'm certain of that, very certain of that.

 18   Q     Sometimes they publish stories to sensationalize what

 19   people have done, correct?

 20   A     That could be the case.

 21   Q     And when they sensationalize these things, they make

 22   people look bigger than they really are, right?

 23   A     That could be.

 24   Q     Now, how long did you spend in the drug trafficking

 25   world?



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                         Lopez Nunez - cross - Balarezo                   6004


  1               Was it from 2001 until your arrest?

  2   A     Yes, sir.

  3   Q     But you told this jury today that you never personally

  4   killed anybody, right?

  5   A     Yes, sir.

  6   Q     And that's just 'cause what, you're a nice guy and have a

  7   thing against murder?      What?

  8               MS. LISKAMM:    Objection.

  9               THE COURT:    Sustained.

 10   Q     You said you didn't personally kill somebody.

 11               Do you have a moral problem with killing somebody?

 12   A     It isn't my habit.

 13   Q     So, it is your habit, though, to transmit orders to kill

 14   somebody?    That's fine in your world?

 15   A     That happened in some cases.

 16   Q     That's not what I'm asking.

 17               I'm asking you, you don't have a problem

 18   transmitting the orders to kill, do you?

 19               MS. LISKAMM:    Objection, asked and answered.

 20               THE COURT:    Sustained.

 21               MR. BALAREZO:      Your Honor, respectfully, I don't

 22   think the answer was given to the question, but I will move

 23   on.

 24               THE COURT:    Hang on.   Stay there one minute.

 25               It was effectively answered.       It's kind of a



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                           Lopez Nunez - cross - Balarezo                   6005


  1   argumentative question.

  2                  MR. BALAREZO:      Can I get a readback, your Honor?

  3                  THE COURT:   Question, You say you didn't personally

  4   kill anybody.      Do you have a moral problem with killing

  5   somebody?

  6                  Answer, It isn't my habit.

  7                  Question, So, is it your habit, though, to transmit

  8   orders to kill somebody?          That's fine in your world?

  9                  Answer, That happened in some cases.

 10                  MR. BALAREZO:      I'll take it.   Thank you.

 11   Q       It also was fine in your moral universe to order

 12   kidnappings of people, correct?

 13   A       Yes.   In drug trafficking, that tends to happen.

 14   Q       It tends to happen, but when you kidnap people, it's not

 15   just that you take them off the street and take them to

 16   dinner, right?

 17   A       They're picked up and that's it.

 18   Q       You pick them up because they've done something against

 19   your business, you, or your son, right, your family?

 20   A       When it has happened, there's always a reason.

 21   Q       Right.   And the reason is they did something you didn't

 22   like.

 23                  You pick them up and then you do something to the

 24   person you picked up, right?

 25   A       When it's happened, as I said before, there's always a



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                         Lopez Nunez - cross - Balarezo                   6006


  1   reason.

  2   Q     For example, you testified that Chapo had Juancho picked

  3   up, right, as you called it?

  4   A     Yes.

  5   Q     And you told the jury that when Juancho was picked up, he

  6   was beaten?

  7   A     I don't remember having said that.

  8   Q     Do you know how he got that black eye in the video?

  9   A     He showed signs of having been beaten, but I didn't say

 10   that he was beaten.

 11   Q     And then you said that he was killed after that, correct?

 12   A     Yes.

 13   Q     But the people that you have picked up aren't beaten.

 14   A     There are times when it's necessary, but not always.

 15   Q     Why is it so hard for you to admit it?

 16                MS. LISKAMM:   Objection.

 17   Q     You've had people beaten, haven't you?

 18                THE COURT:   Sustained.

 19   Q     Have you had people beaten that were picked up?

 20                MS. LISKAMM:   Objection, asked and answered.

 21                THE COURT:   That's not the objection.      Overruled.

 22   A     I don't remember.

 23   Q     And, of course, you don't remember having any of those

 24   people that were picked up killed, right?

 25                MS. LISKAMM:   Objection.



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                         Lopez Nunez - cross - Balarezo                   6007


  1                THE COURT:   Sustained.

  2   Q     Were any of those people that you had picked up killed;

  3   do you remember, yes or no?

  4   A     Yes, sir.

  5   Q     Now, in the entire time that you've been involved in

  6   narco trafficking in Mexico, you know that drugs come through

  7   Mexico, correct?

  8   A     Yes, sir.

  9   Q     And some, obviously, go to the United States, yes?

 10   A     Yes.

 11   Q     But you also know that the United States is not the only

 12   market for drugs; is that right?

 13   A     Yes, there are other countries.

 14   Q     Not just other countries, you have all of Europe.          They

 15   deal with cocaine, don't they?

 16   A     When I said "other countries," I'm referring to other

 17   countries, including those in Europe.

 18   Q     And you're aware that cocaine, in particular from Mexico,

 19   does get shipped to Europe, correct?

 20   A     I don't remember that.

 21   Q     Have you ever done drugs?

 22   A     Sent to Europe?     No.

 23   Q     Have you ever done drugs?

 24   A     Never.

 25   Q     Just because your memory is a little faulty, I'm asking.



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                         Lopez Nunez - cross - Balarezo                   6008


  1               MS. LISKAMM:    Objection.

  2               THE COURT:    We talked about that.

  3               MR. BALAREZO:      Withdrawn.

  4   Q     You don't remember in your 17 years of drug trafficking

  5   whether any cocaine was sent to Europe.

  6               Is that what you're telling this jury here under

  7   oath today?

  8   A     I said that I didn't send any.

  9

 10               (Continued on the following page.)

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                             Lopez - cross - Balarezo                     6009


  1   BY MR. BALAREZO:     (Continuing.)

  2   Q     Listen to my question very closely if you can.          You said

  3   you worked with Chapo Guzman for 17 years, however long it

  4   was, right; correct?

  5   A     Yes, quite a few years, yes.

  6   Q     And you were very close to him?

  7   A     Way too close.

  8   Q     I don't know if I should go there, but --

  9                 You've told this jury though that you knew all about

 10   his business, you could tell about murders, drugs, submarines,

 11   all kinds of things; right?

 12   A     What I had participated in and what I knew about that's

 13   what I talked about.      Things I didn't know about I didn't make

 14   it up.

 15   Q     Right.    So Chapo told you about some things that you did

 16   not participate in, is that accurate?

 17   A     Exactly.

 18   Q     And that's some of the things that you've testified to

 19   this jury about, things you did not see, you did not hear but

 20   you claim that Chapo told you about them; right?

 21   A     Yes, I'm just saying that my compadre told me about that.

 22   Q     Are you aware from your conversations with your compadre

 23   whether your compadre ever sent marijuana to Canada?

 24   A     I don't know about marijuana.       Cocaine he did.

 25   Q     Okay.    So you didn't you did hear about Europe, but you



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                              Lopez - cross - Balarezo                    6010


  1   did hear about Canada?

  2   A       For.    For Europe my compadre asked me to pay rent for

  3   some warehouses but he did not tell me that he was sending

  4   drugs there.

  5   Q       Let's take a look at Government Exhibit 806.1 which is in

  6   evidence.      You went over this particular section of this

  7   letter with the Government on direct; right?

  8   A       Yes, sir.

  9   Q       And you see that highlighted part in yellow where it

 10   says, "I invested everything I sent to Canada from Enrique's

 11   brothers"; correct?

 12   A       Yes, sir.

 13   Q       And what's he talking about there, drugs or, like,

 14   puppies?       What's he talking about?

 15   A       Drugs.

 16   Q       And I think it's clear, but how do you interpret that:

 17   "I sent everything to Canada," right?        He sent it to Canada;

 18   correct?       He, he sent it to Canada.

 19   A       My compadre sent it to Canada.

 20   Q       Not to the United States?

 21   A       Yes, that's -- it's very clear there it's to Canada.

 22   Q       If you can leave it up, I have another page.

 23                  MS. LISKAMM:    Your Honor, if we could take the slide

 24   down.

 25                  THE COURT:   Yes.



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                             Lopez - cross - Balarezo                      6011


  1                 MR. BALAREZO:    I apologize.

  2   BY MR. BALAREZO:

  3   Q     The same exhibit.       I will ask you a couple of questions.

  4   I believe that you testified that in this particular letter

  5   Chapo asked you to speak to somebody else and get a

  6   recommendation for a collector; correct?

  7   A     Yes, to look for a person to pick up that merchandise.

  8   Q     Well, when was this letter written?            When did you get it?

  9   Do you remember?

 10   A     It was received, like, in March or April more or less,

 11   approximately.     It could have been May.          It was one of those

 12   three months approximately.

 13   Q     Of last year?

 14   A     2014.

 15   Q     So in 2014 around sometime in the spring he sends you

 16   this letter.     He's detained at the time; right?

 17   A     Yes, sir.

 18   Q     And a collector you said is somebody you would hire in

 19   order to go collect a debt or recover drugs; right?

 20   A     My compadre knows a person that I don't know only via

 21   communications.

 22   Q     You already testified that Chapo Guzman was the leader of

 23   the Sinaloa Cartel; right?

 24   A     Yes.

 25   Q     Very powerful man; right?



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                              Lopez - cross - Balarezo                     6012


  1   A       Yes, him and Mr. Zambada.

  2   Q       Right, right, right.       And he also controlled --

  3   basically, Culiacan was his town; right?

  4   A       Yes, he controlled Culiacan.

  5   Q       He had sicarios, he had pistoleros?

  6   A       Yes, sir.

  7   Q       But here he is asking his compadre for a recommendation

  8   for a collector?

  9   A       I don't quite understand your question.

 10   Q       Well, the letter says, "Compadre" -- that's you; correct?

 11   A       Yes.

 12   Q       "Do me a favor and talk to Pollito"; correct?

 13   A       Yes, sir.

 14   Q       So just so we're clear he's asking you for a favor that

 15   you speak to Pollito; right?         Just answer yes or no, sir.

 16   A       Because under the orders of my compadre, I was the one

 17   who always had communication with Pollito.

 18   Q       Let's stick with the letter for right now.       Can we do

 19   that?

 20                  MS. LISKAMM:    Objection.

 21                  THE COURT:   Overruled.

 22   A       Of course we can.

 23   Q       And the next line says, "Tell him I say hi," right?

 24   Nothing offensive or threatening with that, is there?

 25   A       That's the way I see it too.



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                             Lopez - cross - Balarezo                     6013


  1   Q       And then it says basically, tell Pollito to please

  2   recommend a collector.       That's what Chapo says to you, his

  3   compadre; correct?

  4   A       Yes, sir.

  5   Q       So my question simply to you is, the head of the Sinaloa

  6   Cartel is asking Pollito for a recommendation for a collector,

  7   yes or no?

  8   A       That's correct, but we're talking about different

  9   countries.

 10   Q       Yes or no?

 11                THE COURT:     Here is the thing:      If the question he

 12   is asking you can be reasonably answered yes or no, then

 13   answer it I don't remember.       If you think it cannot reasonably

 14   be answered yes or no, then tell him you cannot reasonably

 15   answer the question yes or no.

 16                THE WITNESS:    Yes, sir, thank you.

 17                THE COURT:     Let's go again.

 18   BY MR. BALAREZO:

 19   Q       I show you now slide number 14 where you've testified

 20   that Chapo was telling you to remember to pay Callo's and

 21   Conta's rent in Europe; correct?

 22   A       That's correct.

 23   Q       And that was rent for what, a warehouse or something like

 24   that?

 25   A       I suppose it was.



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                             Lopez - cross - Balarezo                     6014


  1   Q     So you don't know what it's for; right?

  2   A     I didn't know, no.

  3   Q     And do you know why they're paying rent in Europe?

  4   A     No, no I don't know.

  5   Q     When you were shown this particular clip by the

  6   Government you testified without any hesitation; right?

  7   A     I interpreted in my own way, as I understood it.

  8   Q     You interpreted it as you understood it; right?

  9   A     Yes, sir.

 10   Q     Without any real knowledge; correct?

 11   A     I did have knowledge because I had spoken to la diputada.

 12   Q     And you remember those conversations?

 13   A     Yes, sir.

 14                MR. BALAREZO:     May I have just one second, Your

 15   Honor?

 16   Q     Slide 25 from the same exhibit.       Do you remember this

 17   particular segment?

 18   A     It's in English if you can tell me.

 19   Q     The interpreter can tell you.

 20                MR. BALAREZO:     Read the highlighted portion.

 21   A     Yes, sir.

 22   Q     I'm sorry, I should have done it myself.         "He also has 50

 23   bullets of 40 and 5 like the ones Negro gave Cosina as a

 24   gift."

 25   A     Yes.



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                             Lopez - cross - Balarezo                     6015


  1   Q     And I think I missed it, but according to you is Chapo

  2   talking about bullets?

  3   A     About drugs and about bullets.

  4   Q     What's 50 bullets?       Is that bullets or is that drugs?

  5   A     Can you repeat that again?

  6               THE INTERPRETER:      For the interpreter.

  7   Q     "He also has 50 bullets of 40 and 5 like the ones Negro

  8   gave Cosina as a gift."

  9   A     50 are bullets, that's right.

 10   Q     And how about "5 like the ones Negro gave Cosina"?

 11   A     They are RPG 7.

 12   Q     Which is what?

 13   A     They are larger bullets that are shot with a pipe over

 14   your shoulder.

 15   Q     So what you're telling us is that this man, Chapo Guzman,

 16   the head of the Sinaloa Cartel went right to his compadres to

 17   discuss 50 bullets and 5 bullets; is that what you're really

 18   telling us?

 19   A     That's what the letter says.

 20   Q     And then the other part which says, "Ricon has 322 and

 21   443 bullets of 40 and 13 bullets like the ones my Compadre

 22   Negro gave Cosina as a gift."

 23   A     Yes, sir.

 24   Q     Are those bullets?

 25   A     That's what I understand.



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                             Lopez - cross - Balarezo                     6016


  1   Q       Not drugs; right?

  2   A       There it's clear that they're bullets.

  3   Q       So in Sinaloa do you buy bullets, like, one by one?

  4   A       If they are sold one by one, you buy one by one.        If they

  5   are sold ten at a time and you can get them, then you buy

  6   them.

  7   Q       So Chapo Guzman, the leader of the Sinaloa Cartel who has

  8   waged war against Alfredo Beltran-Leyva, against Vicente

  9   Carillo-Fuentes, against the Zetas and against half of Mexico,

 10   you're saying he's is talking about individual bullets?

 11   A       The letter is saying that those are bullets that were

 12   bought in Ecuador, not in Sinaloa.

 13   Q       Right, so this guy is not buying, you know, 50 AK-47s at

 14   a time, rocket propelled grenades at a time.          He's not buying

 15   them from Texas; he's buying individual bullets in Sinaloa?

 16   A       I will say it again, the letter doesn't say in Sinaloa.

 17   It says in Ecuador.

 18   Q       So he has to go outside of Mexico to Ecuador, South

 19   America, to buy bullets one by one?        I'm just trying to

 20   understand.

 21   A       He doesn't need to.      He can do it over the phone.

 22   Q       Did he put the order through you too, like the murder

 23   orders?

 24   A       No, sir.   I found out about that through the letters.

 25   Q       Let me show you slide number 29 which is in evidence.         Do



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                             Lopez - cross - Balarezo                     6017


  1   you see that one?

  2   A     Yes.

  3   Q     Line 82, "Apart from that, the company in Europe needs to

  4   get running."

  5   A     Yes, that's what the letter says.

  6   Q     Do you know what company that is in Europe?

  7   A     No, I never found out.

  8   Q     There wasn't a drug trafficking company in Europe?

  9   A     I don't know whether my compadre was sending drugs there.

 10   Q     Briefly, you -- you spoke a lot about --

 11                Now I want to move into the future for a little bit.

 12   You testified about various meetings that you had with family

 13   members of Chapo after 2015.       Do you remember that?

 14   A     Yes, sir.

 15   Q     I'm talking about the escape, quote-unquote, for the

 16   tunnel?

 17   A     Yes, sir.

 18   Q     Well, you said that prior to that escape there was some

 19   meetings with Emma, is that right, your comadre; correct?

 20   A     That's correct.

 21   Q     And what you said is that Emma met with you to discuss a

 22   plan to escape from the Almoloya prison; is that right?

 23   A     What I said was that my comadre brought to me a message

 24   from my compadre.

 25   Q     Right.    The message was that he wanted to escape; right?



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  1   A     Exactly.

  2   Q     And what you said is that Emma was involved in planning

  3   it; right?

  4   A     No.    I said that she brought to me a message from my

  5   compadre.

  6   Q     Were his sons involved in planning it?

  7   A     Whose sons?

  8   Q     Compadre.

  9   A     Yes, sir.

 10   Q     And that plan involved buying a plot of land about a mile

 11   away from the prison; right?

 12   A     A plot of land near the prison, yes, sir.

 13   Q     And eventually, as you became aware of it, you knew the

 14   plan involved the building of a tunnel from that location of

 15   that lot to the prison; right?

 16   A     Yes, sir.

 17   Q     Do you recall how long that took to do, to dig that

 18   tunnel?

 19   A     No, I never knew, not even about one shovel of earth that

 20   was removed from there.        His sons were doing that directly.

 21   Q     It was just Mexicans digging with a shovel in a tunnel?

 22   How was it done?     Do you have any information about it?

 23   A     No, but to excavate a hole you need shovels.         You have to

 24   do.   You have to excavate.

 25   Q     So this is another one of those things that you just



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  1   heard about; right?

  2   A     I heard them from his sons.

  3   Q     And given that Chapo Guzman at the time of this escape

  4   from Almoloya, was he still the leader of the Sinaloa Cartel?

  5   A     To me he was and that's how it seemed.

  6               THE COURT:    Excuse me, Mr. Balarezo.

  7               Ladies and gentlemen, almost all of you are paying

  8   very close attention.      Ladies and gentlemen, almost all of you

  9   are paying very close attention.         Would you please look over

 10   to me.    Thank you.

 11               You may continue.

 12               MR. BALAREZO:      I'm hurt, Your Honor.

 13

 14               (Continued on the following page.)

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                           Lopez Nunez - cross - Balarezo                 6020


  1   BY MR. BALAREZO:      (Continuing)

  2   Q     So at the time of this tunnel is made, you said he's a

  3   leader to you, right?

  4   A     Yes, sir.

  5   Q     And he again was still a very powerful man, right?

  6   A     Yes, sir.

  7   Q     He writes you letters about businesses in Europe?

  8   A     He sent letters and there was something there about

  9   businesses in Europe.

 10   Q     And he sent you letters about 13 bullets?

 11   A     There was some narration there about several things that

 12   he spoke about in the letters, among them, the bullets.

 13   Q     Did you ever talk to him about why he didn't just go out

 14   in a laundry cart?

 15   A     No, we never spoke about that later.

 16   Q     You know, it would have been really easy for this cartel

 17   leader to just,      you know, pay somebody $1 million, get in a

 18   cart and go out the door, right?

 19   A     But he decided to do it some other way.

 20   Q     Right, to go down the tunnel, take a motorcycle, run out,

 21   take an airplane, I mean, it's pretty spectacular, right?

 22   A     It is very real.

 23   Q     And you've been in that tunnel?

 24   A     No.

 25   Q     You weren't involved in the planning?



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                              Lopez Nunez - cross - Balarezo              6021


  1   A       Yes, but I did not, I did not see the tunnel.

  2   Q       You didn't drive the motorcycle to get him out?

  3   A       Not me.

  4   Q       You saw it in the newspaper and you saw it on TV, right?

  5   A       Who?

  6   Q       About the escape.

  7   A       Oh, I did have the opportunity to see it in the media but

  8   I also had the chance to hear it from my compadre.

  9   Q       Right.    But as you've already said, the media in Mexico

 10   makes things up, right?

 11   A       That's, that's what you said.

 12   Q       You agree?

 13   A       No.

 14                  THE COURT:    Let's go on.

 15                  MR. BALAREZO:      I'm sorry?

 16                  THE COURT:    Go on to something else.

 17                  MR. BALAREZO:      I am, Your Honor, moving along.

 18   Q       Yesterday, you testified, you testified about -- strike

 19   that.

 20                  You testified that initially when you started

 21   working for Chapo, your job was to find properties.           Do you

 22   remember that?

 23   A       That's how, that's how I started, yes, sir.

 24   Q       And at some point, your job became to handle

 25   communications on the drug business, is that right?



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                           Lopez Nunez - cross - Balarezo                 6022


  1   A     Yes, sir.

  2   Q     So according to you, for, since 2001, whenever you say

  3   you started working for Chapo, you've been an employee of

  4   Chapo, correct?

  5   A     That's what I always considered myself.

  6   Q     You were nobody in the drug business, right?

  7   A     I don't think so.

  8   Q     You were a nobody?

  9   A     I don't think so.

 10   Q     You were more than a nobody?

 11   A     I was close to my compadre and that made me appear big.

 12   Q     So because you were close to this man, that made you

 13   bigger, that's what you're saying?

 14   A     I became big in the drug business with him.

 15   Q     So if you were, if you were close to Mayo Zambada, you

 16   will be big too, right?

 17   A     Certainly, I would.

 18   Q     And of course you know that Chapo was close to Mayo,

 19   correct?

 20   A     Yes, sir.

 21   Q     Now, you were arrested in -- well, strike that.

 22               You were played some recordings today where you

 23   identified some individuals that were talking.          Do you

 24   remember that?

 25   A     Yes, sir.



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                            Lopez Nunez - cross - Balarezo                6023


  1   Q     And on one of the particular calls you were played, you

  2   identified someone named Panchito?

  3   A     Yes, sir.

  4   Q     And you also identified someone or some ones, if that's a

  5   word, the twins?

  6   A     One of them.

  7   Q     And you said that you had talked or spoken to the twins

  8   two or three times by phone and met one or both of them once,

  9   is that correct?

 10   A     I said that I spoke to one of them and I saw one of them

 11   on one occasion.

 12   Q     Which one is the one that you personally saw?

 13   A     I don't know.

 14   Q     Just a twin?

 15   A     They look alike.      Excuse me?

 16   Q     So you don't know who you talked to, whether you talked

 17   to one twin or the other twin?

 18   A     But I spoke to one of them.

 19   Q     I'm asking you do you know which one you spoke to?

 20   A     No, I don't remember his name.

 21   Q     Did you speak to twin number one or did you speak to twin

 22   number two?

 23   A     Yes.

 24   Q     Better?    Or worse?

 25                Well, which one did you speak to?



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                           Lopez Nunez - cross - Balarezo                 6024


  1   A     I can assure you that the voice belonged to one of them,

  2   but I can't tell you which one of them.

  3   Q     So as you testify here today, you have no idea who you

  4   met, right?

  5   A     I know that he was one of a pair of twins.

  6   Q     But you come here and testify in front of this jury and

  7   say, I spoke to the twin, right?

  8   A     And that's what I did.

  9   Q     Do you know their names?

 10   A     No.

 11   Q     And, of course, when you were played that phone call

 12   where supposedly it was Chapo and a twin's voice, you don't

 13   know which twin it was, right?

 14   A     You are right.

 15   Q     So you were asked who, who did you hear and you said, Oh,

 16   I hear Chapo, right?

 17   A     Yes, I did.

 18   Q     And the other one you heard was a twin?

 19   A     The twin.

 20   Q     But you can't tell the jury who you talked to?

 21   A     Yes, sir, I cannot tell them who of the two of them.

 22   Q     And where you stand, it really doesn't matter who you

 23   talk to, does it?

 24               MS. LISKAMM:       Objection.

 25               THE COURT:    Sustained.



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                            Lopez Nunez - cross - Balarezo                6025


  1   Q     Well, you're testifying under oath, right, and this jury

  2   has to take your word?

  3   A     I am telling the truth.

  4   Q     Not what I asked.         Do you want me to repeat the question?

  5   A     Please.

  6   Q     When you're testifying here under oath and you tell the

  7   jury, I spoke to the twin, you don't even know what twin

  8   you're talking about?

  9   A     Yes, that's the case.

 10   Q     And all you've got to do is testify the way you do and,

 11   hopefully, you'll get your reduction letter, right?

 12   A     Only to tell the truth.

 13   Q     In those calls that you were, you were played, you

 14   identified Chapo a couple of times, is that right?

 15   A     Yes, sir.

 16   Q     What if that was Mayo's voice and that you said it was

 17   Chapo, how would the jury know?

 18   A     That is your problem.

 19   Q     Right.

 20   A     I am only, I am only identifying voices and saying what I

 21   see, what I hear.

 22   Q     So you don't know which twin's voice it is, you don't

 23   know which twin you spoke with, but these people have to

 24   believe that that's Chapo's voice that you heard, right?

 25               MS. LISKAMM:        Objection.



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                           Lopez Nunez - cross - Balarezo                 6026


  1                THE COURT:     Sustained.

  2   Q       They should believe you because you're telling the truth?

  3   A       I don't know whether they should believe me.        All I can

  4   tell them is that I am telling them the truth.

  5   Q       Now, you were arrested in May of 2017, is that correct?

  6   A       Yes, sir, on the 12th.

  7   Q       And that was a few months after compadre was extradited

  8   to the United States, is that correct?

  9   A       Yes, that's right.

 10   Q       And, in fact, you were arrested in your luxury 11th floor

 11   apartment in Mexico City, is that right?

 12   A       It's not very luxurious but it is an apartment in Mexico

 13   City.

 14   Q       Semi luxurious?    What?

 15   A       Maybe it's insignificant.        An apartment.

 16   Q       Well, you weren't arrested like in a little mud hut in

 17   the mountains of Sinaloa, were you?

 18   A       You are right.

 19   Q       And you've been to Cabo San Lucas, haven't you?

 20   A       No, sir.

 21   Q       Well, have you ever been to the beaches in Mexico?

 22   A       Yes, in Mazatlan.

 23   Q       And you didn't have a beach house in Mazatlan, did you?

 24   A       I did have a house.

 25   Q       And do you know the house that was raided where police



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  1   say Chapo was there, do you know what I'm talking about, in

  2   Cabo San Lucas?

  3   A      Yes, about an operation in which the federal police tried

  4   to arrest my compadre.

  5   Q      All right.     Chapo didn't own that house, right?

  6   A      According to me, no.

  7   Q      Somebody rented it or a friend, maybe Mayo, lent it to

  8   him?

  9   A      I don't know who lent it to him.

 10   Q      Now, when you were arrested -- well, strike that.

 11               Before your arrest, you had already been in contact

 12   with an American lawyer, is that right?

 13   A      You are right.

 14   Q      And the reason you were in contact with that American

 15   lawyer was because you wanted that American lawyer to contact

 16   the United States government to try to find a resolution to

 17   your problems, correct?

 18   A      That was in 2014.        It was because my compadre indicated

 19   for me to do that.

 20   Q      Right.   And you had actually given information to that

 21   lawyer to give to the government, right, trying to help

 22   yourself out?

 23   A      False.

 24   Q      Why was that lawyer in contact with the government?

 25   A      Which lawyer are you talking about?



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                              Lopez Nunez - cross - Balarezo                 6028


  1   Q       The one I've been asking you about, sir.

  2   A       Which one?

  3   Q       Well, you tell me.         What was his name, the American

  4   lawyer?

  5   A       I don't remember his name.          It was a lawyer that was

  6   brought to Culiacan by my compadre's sons.

  7   Q       So, once again, this is a very important moment for you;

  8   you're trying to make contact with the government to help

  9   yourself out and you can't even remember the lawyer's name?

 10   A       As I said before, that was, that meeting happened because

 11   of the petition from my compadre so his four sons and me and

 12   my son could meet together with the lawyer and come to some

 13   kind of approach to the government in the U.S.            That was in

 14   2014.    In 2016, I sought out a lawyer separately once my

 15   compadre had been arrested.

 16                   MR. BALAREZO:      Your Honor, can I have one second?

 17   I'm trying to find a document.

 18                   (Pause.)

 19   Q       Let's play a little question and answer.         So I'm going to

 20   ask you some questions.           Tell me if these things are true or

 21   not or -- strike that.            Tell me if you remember these things

 22   or not.

 23   A       Just like true or false?

 24   Q       "I remember."      "I don't remember."

 25   A       Okay.



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                           Lopez Nunez - cross - Balarezo                 6029


  1   Q     Now, you've spent several hours testifying about how you

  2   were an employee of Chapo Guzman, right?

  3   A     Yes, sir.

  4   Q     Do you recall ever, in one of your many meetings with the

  5   government, telling the government that you did not work for

  6   Chapo?    I recall or not recall.

  7   A     I don't recall.

  8               (Continued on next page.)

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                                          Sidebar                         6030


  1                MS. LISKAMM:       Can we have a sidebar?

  2                THE COURT:    Yes, I agree it is an improper question.

  3   It is an improper question.         It is a good approach but --

  4                MR. BALAREZO:      I'm trying to shake it up a little

  5   bit.   All right.

  6   Q      You heard my question, right?

  7                THE COURT:    You've got to give him three options:

  8   He recalls, he doesn't recall --

  9                MR. BALAREZO:      Your Honor, if we could go to the

 10   sidebar.

 11                THE COURT:    Yes.    We can do it at sidebar.

 12                (The following occurred at sidebar.)

 13                THE COURT:    A cross-examiner can ask "yes" or "no"

 14   questions, but he cannot ask "I don't remember" or "I do

 15   remember" questions.       Those are different things.     You can't

 16   do that.

 17                MR. BALAREZO:      I just didn't want you to give him

 18   any ideas.

 19                THE COURT:    Give him the hint, but you are going to

 20   have to give him the hint if you are going to do this.           You

 21   cannot lock him into "I don't remember" or "I do remember" as

 22   his only two options because there may be another option.

 23                MR. BALAREZO:      I found out about that earlier.

 24                MS. LISKAMM:       And can we just make sure that's

 25   clarified before you start asking questions?



                     CMH        OCR       RMR       CRR   FCRR
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                                    7701

                                         Sidebar                          6031


  1               MR. BALAREZO:      I will restart my question.

  2               MS. LISKAMM:       Thank you.

  3               THE COURT:    Thank you.

  4               (End of sidebar conference.)

  5               (Continued on next page.)

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                           Lopez Nunez - cross - Balarezo                 6032


  1   BY MR. BALAREZO:

  2   Q     Mr. Lopez you've had many meetings with the government,

  3   correct?

  4   A     Yes, sir.

  5   Q     And you've discussed many things, correct?

  6   A     Yes, sir.

  7   Q     In particular, you've been asked a lot of things about

  8   your compadre Chapo, correct?

  9   A     About my compadre and many other things.

 10   Q     Just keep it focused now.          Compadre?

 11   A     Yes, sir.

 12   Q     And do you recall that the government asked you whether

 13   or not you worked for Chapo?

 14               MS. LISKAMM:       Same objection.

 15               THE COURT:    Did the government ask you that?

 16               THE WITNESS:       I was very clear in what I would say

 17   to the government.      I don't think there was a need for them to

 18   ask me about it.

 19   Q     Well, in the things that you were very clear to the

 20   government about, do you recall telling the government that

 21   you did not work with Chapo?

 22               MS. LISKAMM:       Same objection.

 23               THE COURT:    I am going to overrule the objection.

 24   A     No, I never said that.

 25   Q     Are you sure?



                     CMH       OCR       RMR       CRR     FCRR
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                                    7703

                            Lopez Nunez - cross - Balarezo                 6033


  1                MS. LISKAMM:       Objection.

  2                THE COURT:    Sustained.

  3   Q     Do you recall telling the government that you were just

  4   an intermediary?

  5                MS. LISKAMM:       Same objection.

  6                THE COURT:    Overruled.

  7   A     There was a time in which I was an intermediary but then

  8   my responsibilities grew.

  9   Q     And do you recall that as part of your employment with

 10   Compadre Chapo, that you actually had a salary?

 11   A     At the beginning, it was that way.

 12   Q     Well, didn't you tell the government that you or do you

 13   recall telling the government that you were receiving a salary

 14   of 20,000 pesos a month?

 15   A     At the beginning when I was getting houses, yes, sir.

 16   Q     And how much is 20,000 pesos a month?

 17   A     20,000 pesos.

 18   Q     Touche.    How much is that in dollars, if you know?

 19   A     I don't have a conversion tool here.

 20   Q     Is a Mexican dollar about 13 -- excuse me -- a U.S.

 21   dollar about 13 Mexican pesos?

 22   A     No, I don't know.         I've been in prison for a year and

 23   eight months.     I don't know what the exchange rate is like.

 24   Q     Well, you were a drug trafficker, correct?

 25   A     Yes.



                      CMH       OCR       RMR      CRR    FCRR
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                           Lopez Nunez - cross - Balarezo                 6034


  1   Q     You probably were paid for your drugs in U.S. dollars,

  2   correct?

  3   A     Yes, sir.

  4   Q     And the last time you received U.S. dollars for your

  5   drugs, how much was a dollar worth?         I'm sure you know.

  6               MS. LISKAMM:       Objection.

  7               THE COURT:    Sustained as to form.

  8   Q     How much was a U.S. dollar worth in pesos?

  9   A     When I was arrested, the dollar was worth -- 17 Mexican

 10   pesos would buy you one dollar.

 11   Q     And that was in 2017, to make it clear?

 12   A     Yes, sir.

 13   Q     Now, during these meetings with the government also, do

 14   you recall telling the government that the most powerful drug

 15   traffickers were Cesar Gastelum and Leopoldo Ochoa, Polo

 16   Ochoa?

 17   A     The ones who moved a large amount of drugs, that's right,

 18   Polo Ochoa and Cesar.

 19   Q     And that was during the time when Chapo Guzman was still

 20   free, right?

 21   A     Yes, sir.

 22   Q     And do you also recall telling the government that Mayo

 23   Zambada was the strongest trafficker?

 24   A     I don't remember.        A trafficker that's out, yes.

 25               (Continued on next page.)



                     CMH       OCR       RMR      CRR     FCRR
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                         Lopez Nunez - cross - Balarezo                   6035


  1   BY MR. BALAREZO (Continuing):

  2   Q     Show you Defense Exhibit 494, 3500-DLN-6.

  3               MS. LISKAMM:    Your Honor, he answered the question.

  4               MR. BALAREZO:      He did not recall.

  5               THE COURT:    That's not what I thought -- he did

  6   answer the question.

  7               MR. BALAREZO:      I don't think I want a readback,

  8   then, on that.     Fair enough, your Honor.

  9   Q     Now, I mean, basically what you're telling the jury is

 10   you were just an employee and you were doing Chapo's bidding,

 11   correct?

 12   A     I always obeyed my compadre's orders.

 13   Q     That's not really true because you've actually told the

 14   Government that you were in charge of narcomenudeo

 15   N-A-R-C-O-M-E-N-U-D-E-O.

 16   A     Under the orders of my compadre, I had some places, yes.

 17   Q     And narcomenudeo brought street level drugs in Mexico,

 18   right?

 19   A     Yes, sir.

 20   Q     And that's a very profitable business, is it not?

 21   A     Yes, that's right.

 22   Q     In fact, a lot of drugs that come in from Colombia, they

 23   are sold in Culiacan and Mexico and other places; is that

 24   right?

 25   A     In Culiacan, drug is sold retail, narcomenudeo.



                               LAM       OCR      RPR
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                            Lopez Nunez - cross - Balarezo                6036


  1   Q     And in other cities in Mexico too, right?

  2   A     I know it goes on in La Paz as well, but I don't know

  3   about other places.

  4   Q     You do know it because you told the Government you ran

  5   narcomenudeo Mazatlan; do you remember that?

  6   A     Yes, coordinating with my compadre's sons.

  7   Q     And you also told them that you were in charge of

  8   narcomenudeo in Los Mochis; do you remember that?

  9   A     Yes.

 10                I was there for almost a year, and then I handed the

 11   city over to someone else under the orders of my compadre.

 12                THE COURT:    Mr. Balarezo, is it a good time?

 13                MR. BALAREZO:       We can take a break now.

 14                THE COURT:    We'll take 15 minutes, ladies and

 15   gentlemen.    Please come back at 3:25.        Remember, don't talk

 16   about the case amongst yourselves.

 17                (Jury exits.)

 18                THE COURT:    The marshals can take the witness out.

 19                Today?

 20                MR. BALAREZO:       Yes.

 21                THE COURT:    Government ready to go next?

 22                MS. PARLOVECCHIO:      Yes, your Honor.

 23                THE COURT:    3:25.

 24                (Recess taken.)

 25                THE COURT:    Please bring in the jury.



                                 LAM          OCR   RPR
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  1               (Jury enters.)

  2               THE COURT:    Everyone be seated.

  3               Mr. Balarezo, you may continue.

  4   BY MR. BALAREZO:

  5   Q     Mr. Lopez, I'm going to direct your attention to a

  6   meeting that you had on May 3, 2017 with various agents of the

  7   United States Government in Mexico City; do you remember that

  8   meeting?

  9   A     Yes, sir.

 10   Q     And that was -- was that the day of your arrest?

 11   A     It was the second, the arrest was on the second.

 12   Q     So, this meeting that I'm talking about was the day after

 13   your arrest, correct?

 14   A     Yes, sir.

 15   Q     And you spent quite a bit of time speaking with these

 16   agents at that point, right?

 17   A     I don't remember.     I wasn't wearing a watch.

 18   Q     Fair enough.

 19               Do you remember, though, that those agents asked you

 20   about that 20,000 peso salary?

 21               Do you remember them asking you in general, yes or

 22   no?

 23   A     No, I don't remember that well.       I was very confused

 24   because of my arrest.

 25   Q     And do you recall, though, that they also asked you how



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  1   was it if you were only making 20,000 pesos a month that you

  2   maintained your lifestyle?

  3               Do you remember that question, yes or no?

  4   A     No, I don't.

  5   Q     And do you recall that when they asked you about the

  6   salary, you said that you received income from narcomenudeo

  7   activities, which are local street sales, as you said?

  8               Don't answer.      I'm going to continue.

  9               And then do you recall stating that you controlled

 10   narcomenudeo activities for one-half of the city of Mazatlan,

 11   Sinaloa, and that provided you an income of two million pesos

 12   a week?

 13   A     I don't recall whether I said it, but that is, in fact,

 14   the case, meaning that did happen.

 15   Q     And do you recall that you also told them that it was

 16   Chapo's sons that controlled the other half of the

 17   narcomenudeo activities in Mazatlan?

 18   A     As I said, I don't recall that well what I told them, but

 19   that is, in fact, the case, meaning my compadre's sons

 20   controlled half of Mazatlan, the other half of the city.

 21   Q     Do you remember you told them you controlled the areas of

 22   Costa Rico, Villa Juarez, Carrizo, El Fuerte, La Cruz,

 23   Navolato, and the northern region, as well as everything

 24   around the town of Los Mochis, Sinaloa, Mexico?

 25   A     I don't recall having tell them that, but I did control



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  1   all those places.     And the city of Los Mochis, it was for

  2   about a year or so.

  3   Q     Let me show you Defense Exhibit 494, which is 3500-DLN-6.

  4               MS. LISKAMM:    Your Honor, can we have a sidebar?

  5               THE COURT:    What do you need refreshed?

  6               He says it's true.

  7               MR. BALAREZO:      Not the first two, your Honor.

  8   That's what I'm refreshing him on.

  9               MS. LISKAMM:    That's not correct.

 10               THE COURT:    Let's talk at sidebar.

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 12               (Continued on the following page.)

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                                         Sidebar                              6040


  1                (The following occurred at sidebar.)

  2                THE COURT:   Just tell me what you think he didn't

  3   answer yes to.

  4                MR. BALAREZO:      I asked him four things.     One was

  5   whether or not he was receiving 20,000 pesos a month salary

  6   from Chapo.

  7                THE COURT:   He said yes.

  8                MR. BALAREZO:      I don't remember him saying that.

  9                THE COURT:   I'm looking at it.

 10                Then two million, he said yes.

 11                MR. BALAREZO:      And controlling the areas, he said

 12   yes.

 13                THE COURT:   Yes.

 14                He didn't give you the 20,000.          I think he will.

 15   But he did give you --

 16                MR. BALAREZO:      The other ones.

 17                THE COURT:   He gave you all the other ones.        The

 18   two million from street sales, that's all mine.

 19                MR. BALAREZO:      I can live with that.

 20                MS. LISKAMM:    If I could clarify for the record, he

 21   said he was getting paid $20,000 before the break.

 22                THE COURT:   He just said he didn't remember if he

 23   said that.

 24                MR. BALAREZO:      That's fine.    Thank you.

 25



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                                       Sidebar                            6041


  1               (Continued on the following page.)

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  1               (Sidebar ends; in open court.)

  2   BY MR. BALAREZO:

  3   Q      Mr. Lopez, when you say you were just an employee of

  4   Chapo, though, that's not correct because you had your own

  5   business, right?

  6   A      On my compadre's instructions, I took charge of those

  7   places.

  8   Q      Let me ask you this:     When you told the Government on

  9   May 3, 2017, when you were telling them about how you

 10   controlled these areas and how you were making two million

 11   pesos a week, do you remember telling them that you were doing

 12   this on behalf of Chapo?

 13   A      I don't recall that well what I spoke to them, to tell

 14   you the truth.

 15   Q      Let me show you Defense Exhibit 494, 3500-DLN-6T, Page 14

 16   of 23.    And I just ask you if the interpreter could read for

 17   you Paragraph 62 until here.

 18               MS. LISKAMM:    Your Honor, same objection.

 19               THE COURT:    He's not disputing the fact.

 20               MR. BALAREZO:      He doesn't recall what I just asked

 21   him.

 22               THE COURT:    He doesn't recall telling it to the

 23   agents, he doesn't recall whether he told it to the agents,

 24   but he's is not disputing the fact.

 25               MR. BALAREZO:      I'm trying to refresh his



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  1   recollection that he didn't tell the agents.

  2                THE COURT:    What is the significance as to whether

  3   he told the agents or not?

  4                MR. BALAREZO:      I'll move on.

  5   Q      So, you didn't tell the agents that day when you met with

  6   them that it was Chapo who was your boss, right?

  7   A      I don't remember.

  8                Does the document have my signature on it?

  9   Q      I don't know.   I can't show you.

 10                THE COURT:    You have to allow counsel to ask the

 11   questions.

 12                THE WITNESS:    Thank you.

 13   Q      Given that you were with Chapo and that sort of made you

 14   a big person, you were considered -- you would consider

 15   yourself a high level drug trafficker, correct?

 16   A      A high level drug trafficker is he who traffics drugs in

 17   a big scale.    I didn't do that.

 18   Q      Never?

 19   A      Those quantities, large scale, no.

 20                I did it in low quantities.

 21   Q      Did you ever have hundreds of men reporting directly to

 22   you?

 23   A      Yes, sir, in 2016.

 24   Q      And, in fact, out of these hundreds of men who were

 25   reporting directly to you, you had sicarios and pistoleros; is



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  1   that correct?

  2   A     That's correct.

  3   Q     And you needed these guys, these pistoleros and sicarios

  4   these hitmen because they were basically your private little

  5   army; is that correct?

  6   A     I needed them in 2016, when my compadre's sons was

  7   seeking out me and my family to kill us.

  8   Q     I'm not talking about the compadre's sons, I'm talking

  9   about you right now.

 10   A     I had to mention my compadre's sons to give you the

 11   example.

 12   Q     Thanks for the example, but Chapo was not the one who was

 13   trying to kill you in 2016, was he?

 14   A     But it was my compadre's sons.       I trust my compadre.

 15   Q     Does he trust you?

 16   A     Not his sons.

 17   Q     Does he trust you?

 18   A     I don't know.    Ask him.

 19   Q     I have.

 20   A     What has he told you?

 21   Q     Should he trust you?

 22               THE COURT:    Let's have a question, please.

 23   Q     Should he trust you?

 24               MS. LISKAMM:    Objection, asked and answered.

 25               THE COURT:    It hasn't been answered.



                               LAM       OCR      RPR
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                         Lopez Nunez - cross - Balarezo                   6045


  1   Q     Aside from this little army of pistoleros you had, you

  2   had uniforms made up for them, right?

  3   A     No, I did not give those orders.       I don't like that.

  4               Some gunman on his own, he ordered those made for

  5   his personal use.

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  7               (Continued on the following page.)

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                             Lopez - cross - Balarezo                     6046


  1   BY MR. BALAREZO:     (Continued.)

  2   Q     And the gun man that ordered this made for his personal

  3   use named it the Fuerzas Especiales de Damaso, right, the

  4   Special Forces of Damaso; correct?

  5   A     I don't know for what reason but he worked with me but I

  6   did not give instructions for those to be made.

  7   Q     And of course whoever made this, this patch just

  8   contravened your desires; you didn't have him killed, you

  9   didn't have him picked up?

 10               MS. LISKAMM:    Objection.

 11               THE COURT:    Overruled.

 12   A     The Navy took care of that.

 13   Q     What was the name of the guy who made that patch?

 14   A     David Lopez.

 15   Q     And where is David Lopez now?

 16   A     In his tomb.

 17   Q     But you had nothing to do with that; correct?

 18   A     With what?    His death?

 19   Q     With him being in a tomb?

 20   A     No, but my Compadre's son did, sons did.

 21   Q     Because you have a moral problem with killing people.           So

 22   it's Chapo's sons that killed him; correct?

 23   A     I'm not speaking about moral problems.        I'm speaking

 24   about the truth.

 25   Q     Tell me the truth here:       In all the time that you've been



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  1   in Mexico when you were Chapo's employee, did you ever see him

  2   or talk to him about the sum of $100 million, yes or no?

  3   A     100 million of what?

  4   Q     United States dollars.

  5   A     No, I never did.

  6   Q     That's a lot of money, isn't it?

  7   A     Yes, it is a lot of money.

  8   Q     Even for a leader of a cartel; right?

  9   A     For anyone.

 10   Q     And as you sit here today testifying under oath, you have

 11   no information whatsoever about a bribe that Mr. Guzman paid

 12   to a politician of $100 million, do you?

 13   A     No, I haven't heard that.

 14   Q     Now, we've talked about many meetings that you've had

 15   with the Government prior to your testimony.          During these

 16   times as we've said, they've asked you a lot of things; right?

 17   A     You are saying, well, many things.

 18   Q     And in particular they were asking you things you knew

 19   about other people but they were also asking things that you

 20   had done; is that right?

 21   A     They asked me everything they wanted.

 22   Q     I asked you simply, they asked you about things that they

 23   believe that you had done; yes or no?

 24   A     Yes.

 25   Q     And you understand from the many meetings that you had



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  1   about all of these questions that they asked you or when they

  2   asked you if you had done certain things, they were based on

  3   information that they had gotten from other cooperators;

  4   correct?

  5   A       I don't know how they obtained their information but in

  6   fact they did ask me about many things.

  7   Q       Well you're a cooperator and you've told the Government

  8   many things; correct?

  9   A       I signed an agreement and I'm talking.      I'm complying

 10   with my agreement.

 11   Q       You were asked by the Government -- you were told that

 12   they had information that he had shipped methamphetamine to

 13   the United States; correct?

 14   A       They did ask me many things.     I think they also asked me

 15   that.

 16   Q       And you denied it; right?

 17   A       I only told the truth.    I don't remember what I said, but

 18   I did tell the truth.

 19   Q       You were asked -- you were told that they had information

 20   that you had tried to kill Chapo Guzman's sons, do you

 21   remember that?

 22   A       Yes, they did tell me that.

 23   Q       And of course you denied that; correct?

 24   A       Because obviously that's false.

 25   Q       And you were also told that they had information that you



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  1   had been trafficking in heroin; correct?

  2   A     And that is true.

  3   Q     And you were also told that they had information that you

  4   had ordered the killing of various Carrillo Fuentes associates

  5   in 2015, do you remember that?

  6   A     No, I don't remember that.

  7   Q     Well, did you order those killings?

  8   A     No.

  9   Q     So you denied that, right, at least here?

 10   A     That's not true.

 11   Q     And they also told you that they had information that you

 12   attempted to kill a police chief in Baja, California, a guy by

 13   the name of Luis Alejandro Osorio?

 14   A     Yes, they also told me that.

 15   Q     And you denied that; correct?

 16   A     Yes, because it's false.

 17   Q     And they also told you that they had information that you

 18   were responsible for the murder of this person Bravo that

 19   we've talked about Manuel Aponte Gomez; correct?

 20   A     That I had processed an order for Bravo's execution, yes,

 21   I did do that.

 22   Q     So that one is true?

 23   A     I passed on the order.

 24   Q     Are you responsible for that murder?

 25   A     There's a much bigger person who's responsible for that.



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  1   Q     Let me guess, Chapo?

  2   A     You are a magician.

  3   Q     They also told you that they had information that you

  4   were involved in the murder of a journalist by the name of

  5   Javier Valdez Cardenas; correct?

  6   A     Yes, a very well-known and famous journalist from

  7   Sinaloa.

  8   Q     And this well-known, famous journalist from Sinaloa was a

  9   famous founder of a newspaper called Rio Doce; correct?

 10   A     I don't know if he was the founder but he did write for

 11   that paper.

 12   Q     Right.   And let me show you defense Exhibit 497-B.         What

 13   do you recognize that to be, sir?

 14   A     A magazine with a cover and the picture of a person.

 15   Q     You don't recognize that to be the Rio Doce newspaper,

 16   the cover?

 17   A     Yes, sir.

 18   Q     And you don't recognize Mr. Valdez?

 19   A     It could be him, but I never met him in person.

 20   Q     Well, and of course you didn't have anything to do with

 21   his murder; correct?

 22   A     You are correct.

 23   Q     Well, isn't it true that his newspaper published at least

 24   an article that was very critical of your son, Mini Lic?

 25   A     Under the orders of my compadre's sons, yes, they did do



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  1   that.

  2   Q       Order of who?

  3   A       Ivan, Alfredo.

  4   Q       So let me get this right, the newspaper published an

  5   article critical of your son on the orders of Chapo's sons; is

  6   that correct?

  7   A       You are completely right.

  8   Q       So when I asked you earlier today about newspapers

  9   publishing stories, now this is a different version of what

 10   you said earlier?

 11   A       No.   You asked me if I gave money to the journalists.

 12   Q       One of the things that the newspaper published about your

 13   son was basically that he was useless, right; that he was,

 14   like, a pathetic trafficker want-to-be; correct?

 15   A       I was in jail at the time, sir.     I didn't see that paper.

 16   Q       And your son didn't have anything to do with that murder

 17   either, I assume?

 18   A       You are assuming correctly, sir.

 19   Q       Have you talked to your son about it?

 20   A       He's in jail.

 21   Q       Have you talked to your son about it?

 22   A       No, sir.

 23   Q       So how can you sit there and testify under oath that I'm

 24   assuming correct if you haven't even talked to him about it?

 25   A       Well, the thing is that my compadre's sons found out that



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  1   I had given an interview by phone with this man here and --

  2   Q       And did --

  3                THE COURT:   Excuse me, sir, you asked him an

  4   open-ended question.      He can finish it.

  5                MR. BALAREZO:     Fine.

  6   A       And explaining the motives as to why the man, Ciro Coma

  7   Leyva, a very well-known journalist in Mexico was mentioning

  8   me where he would say in this news program that I had ambushed

  9   my compadre's sons and that one of my compadre's sons had been

 10   seriously injured and that Mayo had also been injured and

 11   since that was absolutely false, when the journalist

 12   approached me I saw that as an opportunity for the truth to be

 13   known.    But the only thing was that my compadre's sons didn't

 14   think that what I thought was right wasn't actually right for

 15   them.    And if you ask around in Culiacan they're going to tell

 16   you that my compadre's sons threatened the editorial house of

 17   the -- the journalist in Culiacan and that they forced them to

 18   publish some news article just like they wanted it to be

 19   published.

 20                And they forced this man not to publish the

 21   interview that I had given him.          But he was a good journalist,

 22   he was very ethical and he did publish the article.           He

 23   disobeyed the threatening orders that my compadre's sons had

 24   actually given him and that's why he got killed.          And just

 25   because my compadre's sons were colluding with the Government



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  1   it wasn't difficult for them to point to other people who were

  2   allegedly responsible for that.          My son and I are innocent of

  3   this man's murder.

  4   Q       Are you done?

  5   A       Yes, sir.

  6   Q       Innocent of the murder; right?

  7   A       I'm telling the truth.

  8   Q       Did you --

  9   A       I have sworn to tell the truth and I'm abiding by my

 10   oath.

 11   Q       Did you see Chapo's sons pull the trigger, or however he

 12   died?    Did you see that?      Yes or no?   Yes or no?

 13   A       No, I did -- no, I did not see that.       I was in jail.

 14   Q       Did you hear them give an order to kill him like you

 15   heard all of these other things?         Yes or no?

 16   A       No.

 17   Q       Were you there when the man was killed?       Yes or no?

 18   A       I was in jail.

 19   Q       So the answer is no?

 20   A       No.

 21   Q       And you haven't talked to your son about it because he's

 22   locked up too; right?

 23   A       Yes, sir.

 24   Q       So you have no problems here testifying for about five

 25   minutes about things that you know nothing about?



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  1                MS. LISKAMM:    Objection.

  2                THE COURT:   Sustained.

  3   BY MR. BALAREZO:

  4   Q       You're not a witness to them, right, you didn't see them?

  5                MS. LISKAMM:    Objection, asked and answered.

  6                THE COURT:   Sustained.

  7   BY MR. BALAREZO:

  8   Q       But the truth really doesn't matter to you; right?

  9   A       Well, the truth is the truth.       Maybe my compadre did not

 10   know it, but now he does.

 11   Q       Maybe he did not know it because they aren't true.

 12                THE COURT:   All right.       Let's go on to something

 13   else.

 14   BY MR. BALAREZO:

 15   Q       Now when you were extradited --

 16                MR. BALAREZO:       And, Your Honor, at this point I

 17   would like to move into evidence 498 that I think the witness

 18   identified as what it purports to be?

 19                THE COURT:   Actually, you and he were kind of

 20   talking past the identification.

 21   BY MR. BALAREZO:

 22   Q       Mr. Lopez, you recognize what's depicted in Exhibit 498;

 23   correct?

 24   A       Yes, I'm looking at it.

 25   Q       And it's a patch that says Fuerzas Especiales de Damaso?



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  1   A     It is not something that I ordered done.

  2   Q     Do you recognize it?

  3   A     That, that's real.        I did not order that.

  4   Q     And you've seen this before; correct?

  5   A     One time I saw a jacket with that, yes, sir.

  6   Q     And this picture fairly and accurately represents what

  7   you saw in that chamarra; correct?

  8   A     It's similar.

  9               MR. BALAREZO:       I move it into evidence, please.

 10               MS. LISKAMM:    No objection.

 11               THE COURT:    Received.

 12               (Defendant's Exhibit 498 received in evidence.)

 13

 14               (Continued on the following page.)

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  1   BY MR. BALAREZO:      (Continuing)

  2   Q     And this is the patch for the Fuerza Especiales de Damaso

  3   which, of course, you know nothing about?

  4                MS. LISKAMM:       Objection.

  5                THE COURT:    Sustained.

  6   Q     Now, sir, at some point after you came to the United

  7   States, you did hire an attorney here in the United States, is

  8   that right?

  9   A     Yes.    He was recommended by a Mexican attorney.

 10   Q     And you hired him to represent you in a case that was in

 11   the Eastern District of Virginia, is that correct?

 12   A     Yes, sir.

 13   Q     Let me show you what I've marked as Defense Exhibit 487,

 14   for the witness only.

 15                Do you recognize this document, sir?

 16   A     I've seen many similar ones.           I think so.   I've had it in

 17   front of me.

 18                MR. BALAREZO:      If the interpreter can read that

 19   portion that's highlighted.

 20                (Translation.)

 21   A     Yes.

 22   Q     That's your indictment, correct?

 23   A     Correct.

 24   Q     You've seen it before?

 25   A     I think so.



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  1   Q       It's a document that charges you with committing a crime

  2   in the Eastern District of Virginia, is that correct?

  3   A       Yes, sir.

  4   Q       And that's the case to which you have pled guilty and for

  5   which you're cooperating here about, right?

  6   A       I pled guilty.      I later signed an agreement and I'm here.

  7                 MR. BALAREZO:       Your Honor, I think without

  8   objection, I'd like to move into evidence Defense Exhibit 487.

  9                 MS. LISKAMM:        No objection.

 10                 THE COURT:     Received.

 11                 (So marked.)

 12   Q       Now, sir, this is obviously your indictment as you've

 13   said.    Who is charged in this indictment?

 14   A       Me.

 15   Q       Who else?

 16   A       My son.

 17   Q       And the name Chapo Guzman does not appear anywhere in

 18   this indictment, does it?

 19   A       I think he has his own indictment.

 20   Q       All right.      Let's try to answer the question.

 21                 Does Chapo Guzman's name appear anywhere on this

 22   indictment in which you are charged with your son?

 23   A       I don't see it.

 24   Q       Do you see it on the second page?

 25   A       I can't see it either.



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  1   Q     Do you see it on the third page?

  2   A     No, I can't see it either, sir.

  3   Q     And this particular document, obviously you nor your

  4   lawyer had any role in writing it out, correct?

  5   A     I think that the government is in charge of that.

  6   Q     That's correct.     So the government, if they wanted to put

  7   Chapo Guzman's name in your indictment, they could have done

  8   that, right?

  9   A     I do not know that.

 10   Q     "No conozco" or "reconozco"?

 11   A     I do not know that.

 12   Q     Well, this indictment covers a period or he's charged

 13   with conspiracy, is that right?

 14   A     Yes, sir.

 15   Q     And this conspiracy begins in 2003 until the date of the

 16   indictment?

 17   A     Yes, sir.

 18   Q     Which is December 4, 2016.       Correct?

 19   A     Yes, sir.

 20   Q     And isn't it true that that's the same period that you've

 21   been testifying about here?

 22   A     Yes.    It's the time that I worked with my compadre.

 23   Q     But then again, Chapo Guzman is not charged with you in

 24   this indictment, is that correct?

 25   A     Yes.    That's correct.



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                           Lopez Nunez - cross - Balarezo                 6059


  1   Q     And not only are you charged with a conspiracy, a

  2   narcotics conspiracy, but the government also says that they

  3   want to seize $10 billion upon conviction, right?

  4   A     Yes, that's what it says.

  5   Q     Now, the reason you and your son are charged in this

  6   indictment which does not mention Chapo Guzman is because you

  7   and your own son were your own drug trafficking conspiracy,

  8   isn't that right?

  9   A     We also worked in drug trafficking but we depended on my

 10   compadre.

 11   Q     Let me show you Defense Exhibit 488.        You recognize this,

 12   correct?

 13   A     Yes, sir.

 14   Q     And this is a statement of facts that goes along with

 15   your plea agreement, right?

 16   A     Yes, sir.

 17   Q     And for this particular statement of facts, again, the

 18   government is the one that writes it out; you and your lawyer

 19   did not write it out, correct?

 20   A     Yes.   Those are documents that the government prepares.

 21   Q     And you and your lawyer didn't suggest language that you

 22   didn't like, correct?

 23   A     I did not have the faculty to do that.

 24   Q     Neither did your lawyer?

 25   A     I don't know whether he did.



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  1   Q       Hold on to that thought.

  2                  Now, this paragraph 2 where it says -- and these are

  3   facts that you agreed to, is that correct, your signature?

  4   A       Yes, sir.

  5   Q       And you said that you fully understand the statement of

  6   facts and agreed to it without reservation, is that right?

  7   A       Yes, sir.

  8   Q       So you agreed when you signed this document that from --

  9                  MR. BELAREZO:      Well, Your Honor, can I introduce

 10   this?    I'm sorry.      I don't think I did.        I don't think I moved

 11   it.

 12                  THE COURT:    Any objection?

 13                  MS. LISKAMM:       It's already in.

 14                  MR. BALAREZO:      This is Defense Exhibit 488, the same

 15   version.

 16   Q       Paragraph 2, you agreed you and your son, Domasco Lopez

 17   Serrano, rose to become a senior leader of a faction of the

 18   Sinaloa Cartel.        Do you see that?

 19   A       Yes.

 20   Q       That's correct, right?

 21   A       Yes.   The fact that we were the heads of the Mazatlan

 22   section and the Mochis section --

 23   Q       Where do you see -- there's no question.           I'm over here.

 24   A       -- that made us look as bosses.

 25   Q       Where does it say Mochis or Mazatlan in this document?



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  1   A       No, I'm not saying that that is written there.

  2   Q       All right.    And I note earlier, you said you are also not

  3   responsible for large scale drug trafficking.           Do you remember

  4   that?

  5   A       Yes, sir.

  6   Q       And yet here, you agreed that you were responsible for

  7   the distribution of tonnage, quantities of narcotics, right?

  8   A       Yes, because it is a conspiracy.

  9   Q       Let me ask you this --

 10   A       And the conspiracy involves several people, not just one.

 11   Q       This is your plea agreement, right?

 12   A       Yes, sir.

 13   Q       Your indictment?

 14   A       Yes, sir.

 15   Q       Your statement of facts?

 16   A       Yes, sir.

 17   Q       Do you want to change that now?        You were not responsible

 18   for tonnage quantities?

 19                 MS. LISKAMM:       Objection.

 20                 THE COURT:    Overruled.

 21   A       No.   Well, you read the indictment.        It says conspiracy.

 22   Q       That's nice, but now we're talking --

 23   A       I don't want to change it.

 24   Q       -- about the document that you signed.

 25                 That's nice.       And now we're talking about this



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  1   document that you signed.

  2   A     Yes, I do admit it.       I signed it.

  3   Q     And your faction, your group, consisted of hundreds of

  4   men who reported to you, right?

  5   A     I already told you that a moment ago.

  6   Q     You oversaw the financing of massive cocaine shipments?

  7   A     Yes, sir.

  8   Q     You controlled various cities and regions within Mexico

  9   for the Sinaloa Cartel?

 10   A     Yes, sir.

 11   Q     The cartel, and specifically members of your faction,

 12   employed Sicarios and hit men who carried out numerous acts of

 13   violence, right?

 14   A     Yes, sir.

 15   Q     But yet, you still want to say you never killed anybody;

 16   you just gave the orders, right?

 17   A     I never killed anyone.

 18   Q     Now, your plea agreement itself, Defense Exhibit 489-A --

 19               MS. LISKAMM:       It's already evidence.

 20               MR. BALAREZO:      I'll move this into evidence, 489-A.

 21               THE COURT:    That's in.

 22               MR. BALAREZO:      Thank you.

 23   Q     You see this, sir; this is your plea agreement, correct?

 24   A     Yes, sir.

 25   Q     And just so we have no mistakes, that is your signature



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  1   in the back?

  2   A     I do admit it as mine.

  3   Q     And here's that attorney's signature, is that correct?

  4   A     Yes, sir.

  5   Q     You reviewed this plea agreement very carefully with your

  6   lawyer, right?

  7   A     Yes, sir.

  8   Q     And you understood every word of it, is that right?

  9   A     I understood, I understood the document.

 10   Q     Now, just very quickly, you know, that when you pled

 11   guilty to this offense, by law, you are facing a ten-year

 12   mandatory minimum up to life in prison, right?

 13   A     Yes, sir.

 14   Q     And you know that if you get a life sentence in the

 15   United States, that you are going to die in prison, is that

 16   right?

 17   A     That's clear to me.

 18   Q     And, in fact, part of the plea agreement explains what

 19   your federal sentencing guidelines are, what the estimate is,

 20   right?

 21   A     Yes, sir.

 22   Q     And because you possessed a firearm, because you used

 23   violence, because you used aircraft and submarines, because

 24   you bribed, because you played an aggravating role, your

 25   guidelines come to a level 49.         Is that right?



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  1   A     Yes, sir.

  2               THE COURT:     How are you doing on time?

  3               MR. BALAREZO:      Ten minutes max or less.       Three

  4   minutes maybe?       Seven minutes?     I'll finish.

  5               THE COURT:     Seven minutes max.

  6               MR. BALAREZO:      I will finish.

  7   Q     You've seen a federal sentencing chart, correct?

  8   A     Yes, sir, the lawyer showed it to me.

  9               MR. BALAREZO:      Any objection?     No objection.

 10               THE COURT:     I thought it was already in.

 11               MR. BALAREZO:      We have another version.

 12   Q     So, sir, reading quickly, this is the guidelines that or

 13   the guideline table that your plea agreement refers to, is

 14   that correct?

 15   A     Yes, sir.

 16   Q     So your guideline of 49 is actually off the charts, is

 17   that right?

 18   A     Yes, sir.

 19   Q     So now, having understood this plea agreement and having

 20   reviewed it with your lawyer, you know that one of the

 21   provisions of this plea agreement is that the United States

 22   and the defendant agree to recommend, pursuant to that law and

 23   the sentencing guidelines, that the court sentence the

 24   defendant to life imprisonment, correct?

 25   A     Yes, but that disposition could only be made by the judge



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  1   and that is, in fact, what happened.         I was precisely

  2   sentenced to life.

  3   Q       Right, but my point is the government, you and your

  4   lawyer agreed that a life sentence was what would be, should

  5   be recommended, right?

  6   A       Yes, sir.

  7   Q       That's a hell of a plea agreement you've got, right,

  8   life?

  9   A       I have no experience with that.

 10   Q       You had a lawyer who spoke Spanish, right?

 11   A       Yes.

 12   Q       And he explained it and you signed the agreement?

 13   A       I don't know whether that's a hell of an agreement, but

 14   it was the agreement -- as you say, but it is the agreement

 15   that I accepted and I signed it.

 16   Q       It's an agreement and you signed it to recommend life to

 17   your judge.      Why are you here then?     You got life.

 18   A       Yes, sir.

 19   Q       So why are you here?     You got the sentence you wanted.

 20   A       Well, I signed a cooperation agreement and I am here.

 21   Q       All right.     To tell the truth?

 22   A       I have always told the truth.

 23                  (Continued on next page.)

 24

 25



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  1               MR. BALAREZO:      How much more?

  2               THE COURT:    I've got to give them a chance to

  3   redirect.

  4               MR. BALAREZO:      I have nothing further.

  5               THE COURT:    I don't want to cut you off.

  6               MR. BALAREZO:      No further questions.

  7               THE COURT:    Any redirect?

  8               MS. LISKAMM:       Yes, Your Honor.

  9               THE COURT:    And how long?

 10               MS. LISKAMM:       I don't know if I can commit to three

 11   minutes.    I think it's somewhere more than 5 or 10 minutes.

 12               THE COURT:    I am not going to give you ten minutes.

 13               MS. LISKAMM:       Okay.

 14               THE COURT:    Which means I am not going to let

 15   Mr. Balarezo pass the witness yet.          I am going to give

 16   Mr. Balarezo another ten minutes tomorrow morning if he wants

 17   it.

 18               MR. BALAREZO:      Thank you.

 19               THE COURT:    And I will give you as long as you want.

 20               MR. BALAREZO:      Thank you, Your Honor.

 21               MS. LISKAMM:       Thank you, Your Honor.

 22               THE COURT:    Ladies and gentlemen, we will now close

 23   for the evening.

 24               Please stay away from any media summaries of the

 25   case.   Do not communicate about the case with anyone or talk



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  1   to them.    Don't do any research about the case.          We are really

  2   making very good progress and we will get you the case I'll

  3   say in the near future.

  4               Have a good evening.        We will see you tomorrow

  5   morning.

  6               (Jury exits.)

  7               THE COURT:    All right.     The marshals can take the

  8   witness out.

  9               (Witness steps down and exits.)

 10               THE COURT:    Mr. Balarezo, you don't have to use that

 11   time tomorrow but I knew you were rushing to meet the deadline

 12   and I figured since the government cannot finish today anyway,

 13   you should have a chance.

 14               MR. BALAREZO:      I'll try not to.

 15               THE COURT:    The other thing I wanted to tell the

 16   parties is I am working pretty hard on the jury instructions.

 17   I did not really care for your side's proposal.            I am finding

 18   it very complicated instructions.         I am kind of doing my own.

 19   I am going to get them to you as soon as I can.            The main

 20   problem is the repetition problem that I just do not want the

 21   jury to have to listen to two and a half hours of instructions

 22   if I can avoid it.     So you will see and we will have a

 23   charging conference and see if we can come together on it.             If

 24   not, it will be my way.

 25               Okay.



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  1               MR. PURPURA:       Judge, just to save some time tomorrow

  2   morning, it's my understanding the government's next witness

  3   will be, they're going to attempt to qualify John Paul Osborn

  4   as an expert, actually an expert in handwriting analysis.

  5               My first objection would be the 403 objection.

  6   These are the three letters where the initials are JGL at the

  7   bottom of it.     These are the three letters that Mr. Damasco --

  8   excuse me -- Mr. Lopez just went through and identified who

  9   the handwriting was and who sent the letter to him and these

 10   will be three letters which self authenticated in the author

 11   within of the letter itself.        So that's the 403 objection.      So

 12   you know in advance.

 13               THE COURT:    Okay.    Well, let me rule on it in

 14   advance.    I am going to overrule it unless you are willing to

 15   stipulate that, in fact, he wrote the letters.

 16               MR. PURPURA:       That was the request and the answer to

 17   that is no as well.

 18               THE COURT:    So you are attacking the credibility of

 19   all the other sources that might support what you are saying

 20   is already there so the government has the right to call an

 21   expert.

 22               MR. PURPURA:       Although this wasn't an original

 23   witness, he wasn't put down as a witness, there was no Daubert

 24   challenge to this particular science itself.          There is plenty

 25   of literature out there that, in fact, handwriting analysis



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  1   under 702 is junk science.       It's not a science at all.      At

  2   best, it would be a skill.

  3               So, I am going to ask the Court to consider that if,

  4   in fact, Mr. Osborn is qualified in any fashion, it should be,

  5   if any, as a skill which is a learned skill to identify

  6   certain features, not that it is a science itself.

  7               (Continued on next page.)

  8

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  1   (Continuing.)

  2               THE COURT:    I'm certainly familiar with the

  3   literature to which you're referring.

  4               If you've noticed, generally speaking, I don't -- in

  5   accordance with a lot of judges in a lot of district but not

  6   this one, I never tell the jury that somebody is an expert.            I

  7   tell them they have a specialized skill that allows them to

  8   give opinion testimony that other witnesses are not allowed to

  9   give.   The only time it comes up is in the jury instructions,

 10   when we actually use the word "expert" to say experts are

 11   allowed to give opinion.

 12               So, if he's tendered to me as an expert tomorrow,

 13   all I will say is what I've said with the other experts, which

 14   is that he's qualified to give his opinions, if I find that he

 15   is.   And then whether we deal with that later in the jury

 16   instructions, we'll wait until the charging conference and

 17   figure it out.

 18               MR. PURPURA:    Thank you.

 19               THE COURT:    Anything else?

 20               MS. PARLOVECCHIO:     Your Honor, briefly, for the

 21   record, we've provided notice of this expert well in advance

 22   of trial.

 23               THE COURT:    It is late for the challenge to the

 24   science of handwriting, I will say.        You know, there have been

 25   judges who have had a week of hearings on this.



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  1               MS. PARLOVECCHIO:     He's been qualified in this

  2   court, your Honor.

  3               THE COURT:    I'm sure he's been qualified all over.

  4               MR. PURPURA:    It's in New York, exclusively.        Last

  5   time was in the Southern District, and that was in 2014.           And

  6   two years later, another Southern District judge completely

  7   suggested that the handwriting should not be accepted in any

  8   case.

  9               THE COURT:    Like I said, I'm very familiar with

 10   that.   I'm very familiar with the challenge to ballistics, to

 11   identification, all the other things that for a hundred years

 12   we've been relying on in court.

 13               But I don't have that have properly before me on

 14   this one, really.

 15               MR. PURPURA:    I will have voir dire.      And I'm

 16   letting the Court know that during the voir dire of this

 17   expert, I'm going to go into it.

 18               THE COURT:    That's perfectly legitimate.

 19               MR. PURPURA:    I've been learning the science, or the

 20   lack of science.

 21               MS. PARLOVECCHIO:     Your Honor, this shouldn't be a

 22   full-blown Daubert hearing in front of the jury.

 23               THE COURT:    It's not going to be.

 24               MS. PARLOVECCHIO:     He should have addressed this in

 25   pretrial motion practice.



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  1               THE COURT:    He's allowed to voir dire into expertise

  2   within reason.     Within reason.    It's not going to turn into a

  3   Daubert hearing.     We're much too far into the case for that.

  4               MR. PURPURA:    Certainly.

  5               THE COURT:    See you tomorrow morning.

  6

  7               (Matter adjourned until Thursday, January 24, 2019,

  8   at 9:30 a.m.)

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  1                                  I N D E X

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  4       DAMASO LOPEZ NUNEZ

  5             DIRECT EXAMINATION BY MS. LISKAMM                   5904

  6             CROSS-EXAMINATION BY MR. BALAREZO                   5964

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  8
                                  E X H I B I T S
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 10        Government Exhibit 515-5                                  5905

 11        Government Exhibit 106                                    5917

 12        Government Exhibits 806-1, 806-2, and 806-3               5920

 13        Government Exhibit 517                                    5921

 14        Government Exhibits 601L and 601L-8                       5954

 15        Defendant's Exhibit 498                                   6055

 16        Defense Exhibit 487                                       6057

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